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                                                                                                    2022 Jan-03 PM 03:09
                                                                                                    U.S. DISTRICT COURT
                                                                                                        N.D. OF ALABAMA
                IN THE UNITED STATES DISTRICT COURT FOR THE
                       NORTHERN DISTRICT OF ALABAMA
                              MIDDLE DIVISION

Plaintiff (#01) JENNIFER CATRICE                       *
HILL, on behalf of minor AF, *
                                        *
Plaintiff (#02) SLADE MILLER,           *
on behalf of minor AKCM,                *
                                        *
Plaintiffs (#03 & 04) WESLEY BOLTON *
GARMON on behalf of minors C.G.         *
& L.G.,                                 *
                                        *
Plaintiffs (#05, 06, 07, 08) SARAH F.   *
BAILEY, on behalf of minors J.F.B.,     *
J.P.B., W.C.B. & J.C.B.                 *
                                        *
State Class Claimant Users numbered     *
Nine (9) up to Claimant User Two        *
Million One Hundred Sixty Four          *
Thousand Seven Hundred Forty            *
            1
(2,164,740) , &                         *
                                        *
National Class Claimant Users numbered *
Two Million One Hundred Sixty Four      *
Thousand Forty One (2,164,741)          *
up to Two Hundred Eighty Five           *
Million Four Hundred Sixty Thousand     *
                                      2
Six Hundred Sixty Seven (285,460,667) , *
                                        *
Global Class Claimant Users numbered *
 Two Hundred Eighty Five Million Four *
Hundred Sixty Thousand Six Hundred      *
Sixty Eight (285,460,668) up to One *

1
  https://www.internetworldstats.com/unitedstates.htm#AL - Reported Facebook users in 2018 for the State of
Alabama.
2
  https://www.statista.com/statistics/408971/number-of-us-facebook-users/ - Reported Facebook users in 2018
for the United States of America.
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Billion Claimant Users is reserved,  *
                                     *
PLAINTIFFS,                          *
                                     *
            v.                       *    CIVIL ACTION NUMBER:
                                     *
                                     *
META PLATFORMS, INC. formerly        *
Doing Business As FACEBOOK, INC., *
                                     *
MARK ELLIOT ZUCKERBERG,              *
Agent of META & STARBELT, LLC,       *
                                     *
STARBELT, LLC,                       *
                                     *
DEFENDANTS.                          *
             __________________________________________________

                         PLAINTIFFS’ CIVIL COMPLAINT COMPLAINT
                      __________________________________________________

       Comes now through this short and plain statement of facts, the Plaintiffs: Plaintiff
One (#01) Jennifer Catrice Hill on behalf of A.F. a ten (10) year old minor, Plaintiff Two
(#02) Slade Miller on behalf of A.K.C.M. a six (6) year old minor, Plaintiff Three (#03)
Wesley Bolton Garmon on behalf of L.C.G. a fifteen (15) year old minor, Plaintiff Five
(#04) Wesley Bolton Garmon on behalf of L.K.G. a seventeen (17) year old minor,
Plaintiff Five (#05) Sarah F. Bailey on behalf of J.F.B. (14) year old minor, Plaintiff Six
(#06) Sarah F. Bailey on behalf of J.P.B. (13) year old minor, Plaintiff Seven (#07) Sarah
F. Bailey on behalf of W.C.B. (10) year old minor, Plaintiff Eight (#08) Sarah F. Bailey
on behalf of J.C.B. (6) year old minor and similarly situated minors, through Claimant
User Two Million One Hundred Sixty-Four Thousand Seven Hundred Forty (2,164,740)3
representing potential minors depicted in users accounts registered and unregistered
users of the Platform in the State of Alabama, the National Class of Users numbered
potentially through Two Hundred Eighty-Five Million Four Hundred Sixty Thousand Six
Hundred Sixty-Seven (285,460,667) Individuals representing potential minors with

3
    https://www.internetworldstats.com/unitedstates.htm#AL
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claims as set out herein depicted in users accounts registered and unregistered users of
the Platform in the United States and do plead these claims through the undersigned
Attorneys, and do hereby seek damages, both monetary & equitable damages. Global
Class Claimant Users numbered Two Hundred Eighty Five Million Four Hundred Sixty
Thousand Six Hundred Sixty Eight (285,460,668) up to One Billion Claimant Users is
reserved given storage of the minors images, data and the like for the global platform is
purported to be in this Honorable Court’s jurisdiction.

       Plaintiffs and on behalf of all others similarly situated, by and through their
undersigned Counsel, bring this class action complaint seeking monetary and injunctive
relief against Defendant Meta Platforms, Inc. previously doing business as Facebook,
Inc., Defendant Starbelt, LLC, and Defendant Mark Elliot Zuckerberg. Plaintiffs allege
the following upon information and belief based on the investigation of counsel, to
include biometric surveillance and harvesting of minors images, and upon which the
Plaintiffs have personal knowledge as alleged herein.

                                        PARTIES

      1.     Plaintiff Jennifer Catrice Hill, is an individual over the age of nineteen (19)
and a resident of Etowah County, Alabama, and of sound mind. Plaintiff One (#01)
Jennifer Catrice Hill files on behalf of A.F. a ten (10) year old minor, is an individual
over the age of nineteen (19) and a resident of Jefferson County, Alabama, and of sound
mind.
      2.     Plaintiff Slade Miller, is an individual over the age of nineteen (19) and a
resident of Etowah County, Alabama, and of sound mind. Plaintiff Two (#02) B. Slade
Miller files on behalf of AKCM a six (6) year old minor.
      3.     Plaintiff Wesley Bolton Garmon , is an individual over the age of nineteen
(19) and a resident of Etowah County, Alabama, and of sound mind. Plaintiff Three
(#03) Wesley Bolton Garmon files on behalf of L.C.G. a year seventeen (17) year old
minor, and Plaintiff Four (#04) Wesley Bolton Garmon files on behalf of L.K.G. a fifteen
(15) old minor.
      4.     Plaintiff, Sarah F. Bailey, is an adult resident of Jefferson County, Alabama
who is of sound mind. Plaintiff Five (5) Sarah F. Bailey files on behalf of J.F.B. a
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fourteen year (14) year old minor; Plaintiff Six (6) Sarah F. Bailey files on behalf of
J.P.B. a thirteen (13) year old minor; Plaintiff Seven (7) Sarah F. Bailey files on behalf of
W.C.B. a ten (10) year old minor; and Plaintiff Eight (8) Sarah F. Bailey files on behalf
of J.C.B. a six (6) year old minor.
      5.     State Class Plaintiffs Claimant User numbered nine (9) through Claimant
User numbered two million one hundred sixty-four thousand seven hundred forty
(2,164,740)4 represent those individuals who are similarly situated being Facebook users
in the proposed class who were damaged and otherwise experienced antitrust violations
as set out herein.
      6.     National Class Plaintiffs Claimant User numbered two million one hundred
sixty-four thousand seven hundred forty one (2,164,741) through Claimant User Two
Hundred Eighty Million Four Hundred Sixty Thousand Six Hundred Sixty-Seven
(285,460,667) are those individuals on behalf of minors within any of the federally
recognized states of the union across the United States of America who are similarly
situated5 being Facebook users in the proposed national class who were damaged and
otherwise experienced antitrust violations as set out herein.
      7.     GLOBAL CLASS RESERVATION…
      8.     Defendant Meta Platforms, Inc. formerly doing business as Facebook, Inc. is
a publicly-traded Delaware corporation with its principal place of business located at 1
Hacker Way, Menlo Park, California 94025. Defendant Meta Platform6, Inc. is believed
to be a publicly-traded Delaware corporation as it was “announced” by Defendant
Facebook, Inc. via Defendant Zuckerberg that the new operating name for Defendant
Facebook is “Meta Platforms, Inc.” albeit at the time of notice the California Secretary
of State7 has no filings for such entity.

4
  https://www.internetworldstats.com/unitedstates.htm#AL
5
  California and Illinois minors may be precluded from a national class by collateral estoppel.
6
  Meta Platforms, Inc.,(trade name Meta; formerly Facebook, Inc.), is an American multinational technology conglomerate
holding company based in Menlo Park, California. It is the parent organization of Facebook, Instagram, and WhatsApp,
among other subsidiaries. It is one of the world's most valuable companies and is considered one of the Big Tech companies
in U.S. information technology, alongside Amazon, Alphabet Inc. (parent of Google), Apple, and Microsoft. The company
generates a substantial share of its revenue from the sale of advertisement placements to marketers.
https://en.wikipedia.org/wiki/Meta_Platforms
7
  Business entity search was conducted by the undersigned utilizing the California Secretary of State’s platform with no
return for a business entity corporation termed “Meta”, “Meta Platforms, Inc.” or “Meta Platforms” as of 29 October 2021.
The Associated Press released the name change announcement of Defendants Facebook & Zuckerberg:
https://apnews.com/article/facebook-meta-mark-zuckerberg-technology-business-5ad543ab7780caae435935f0a
ca9fac6
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      9.    Defendant Mark Zuckerberg is an adult California resident believed to be of
sound mind legally and does business operations from 1601 Willow Road, Menlo Park,
California 94025-1452, among other areas. Defendant Zuckerberg has traveled to and
through “Sweet Home” Alabama.
      10. Defendant Starbelt, LLC (Entity ID 517-0128) is a company duly formed and
organized in the State of Alabama whose registered agent for service of process is 103
Foulk Road, Suite 202, Wilmington, Delaware 19803. Starbelt, LLC has a principal
place of business of 100 South Profile Place NW, Huntsville, Alabama 35810.

                       JURISDICTION, VENUE AND CHOICE OF LAW

      11. This Honorable Court has subject matter jurisdiction over Plaintiffs’ claims
under 1332(d)(2), the Class Action Fairness Act of 2005 because at least one member of
the Class which exceeds one hundred (100) members in the aggregate, is a citizen of a
different state than Defendants and the amount in controversy exceeds several billion
dollars, exclusive of interest and cost.9
      12. This Honorable Court has jurisdiction per the Sherman Antitrust Act and
deceptive trade practices laws. The Defendants have violated Section 1 of the Sherman
Antitrust Act among other laws.10 This Honorable Court has jurisdiction over the privacy
rights of minors and torts related to intrusions into the privacy rights of minors.
      13. The Defendants operate a business in the State of Alabama which includes
its global data storage center which is located in Madison County, Alabama, and within
this Court’s jurisdiction. This Court has personal jurisdiction over Starbelt, LLC because
it transacts business in this State and because the tortious conduct alleged in this
Complaint occurred in, was directed to, and/or did emanate from Alabama. The
Defendant Starbelt, LLC is a corporate resident of Alabama.
      14. This Court has personal jurisdiction over Meta Platforms, Inc. and Defendant
Mark Zuckerberg because the tortious and illegal conduct was conducted in and through
the state of Alabama in which Defendants submitted themselves to the protections and

8
   Alabama Secretary of State, Secretary John Merrill, Business Entity Identification Number
9
  Value estimated of a similarly situated social media platform which is yet to be launched but was valued by experts and
provides as near in kind “User” experience by forecast.
10
   Mantiply v. Mantiply, 951 So. 2d 638 (2006), WYETH, INC. and Wyeth Pharmaceuticals, Inc. v. BLUE CROSS AND
BLUE SHIELD OF ALABAMA Date: January 15, 2010 Docket Number: 1050926
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rights afforded by Alabama law in its profit interest operations. Defendant Zuckerberg
has “trekked through '' Alabama visiting and overseeing operations at Starbelt, LLC at
least in February of 2017.11 It is believed all images of both adults and minors were
stored following facial recognition biometric tagging and were sorted by “template” at
Starbelt. Minors images harvested, even if biometrics with Defendant Starbelt, LLC
servers were deleted, remain secured in breach of privacy laws and stored following
machine learn surveillance methods. Defendants have all conducted business in
Alabama, have had “certain minimum contacts with it such that the maintenance of the
suit does not offend 'traditional notions of fair play and substantial justice.'”12 Defendant
Meta Platforms, Inc. is believed to operate in California having done business as
Facebook, Inc.. Starbelt, Inc. has Alabama as a principal place of business. Defendant
Zuckerberg is subject to personal and subject matter jurisdiction in Alabama.
      15. The corporate entities Facebook and Meta have acted like an individual in
their “presence” without, as well as within the State of Alabama and had agents carry on
actions within the State on its behalf satisfying due process and minimum contacts.13
The terms “present” or “presence” are used merely to refer to the actions and activities of
the corporation’s agent within the State, albeit some done remotely but having contact
with Plaintiffs within the State so as to satisfy the demands of due process. All
Defendants are subject to the jurisdiction of this Court.
      16. Notice per Code of Alabama § 8-19-10 (e) (2019) Deceptive Trade Practices,
one of the counts, has been legally provided and perfected upon Defendants by mailing
on 04 December 2021 additionally, while not required, via email.
      17. The suit has filed a class notice herein asserted and the intentions stated per
Federal Rules of Civil Procedure, Rule 23 to apply, a Motion for Class Certification.
Unjust Enrichment may be brought and litigated as a Class Action where the
requirements of Rule 23 are met. Code of Alabama § 6-5-60 codifies the intentions and
tenets of both the Sherman Antitrust Act and the Clayton Act. According to this code

11
  https://www.wvtm13.com/article/facebook-founder-mark-zuckerberg-treks-through-alabama-makes-stop-in-birmingham/8
960527
12
   Milliken v. Meyer, 311 U.S. 457, 463, 61 S.Ct. 339, 343, 85 L.Ed. 278, 132 A.L.R. 1357. See Holmes, J., in McDonald v.
Mabee, 243 U.S. 90, 91, 37 S.Ct. 343, 61 L.Ed. 608, L.R.A.1917F, 458. Compare Hoopeston Canning Co. v. Cullen, 318
U.S. 313, 316, 319, 63 S.Ct. 602, 604, 606, 87 L.Ed. 777, 145 A.L.R. 1113. See Blackmer v. United States, 284 U.S. 421, 52
S.Ct. 252, 76 L.Ed. 375; Hess v. Pawloski, 274 U.S. 352, 47 S.Ct. 632, 71 L.Ed. 1091; Young v. Masci, 289 U.S. 253, 53
S.Ct. 599, 77 L.Ed. 1158, 88 A.L.R. 170.
13
   L. Hand, J., in Hutchinson v. Chase & Gilbert, 2 Cir., 45 F.2d 139, 141
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section, among others, competing businesses or consumers themselves can file a private
right of action: If the lawsuit is successful, the plaintiff can recover damages for injuries
suffered as a result of the unfair practice. Alabama has enacted antitrust laws in an effort
to discourage collusion between companies as well as certain mergers and acquisitions
that could give certain companies an unfair competitive advantage in the consumer
market.
      18. The Right to Privacy14 plays a unique role in American law and society.
Privacy, although not explicitly protected by the Constitution, is considered a core value
by most Americans. It has also taken on multifarious meanings so that it no longer
conveys one coherent concept. But privacy rights guarantee an individual's right to a
private life, find their authority in the Constitution, State Constitutions, Federal and State
statutes, and tort law judicial decisions.
      19. The framers, however, were unable to address future changes in technology
and the myriad of privacy concerns that have evolved as new technologies permeated
their way into our society. The Supreme Court has broadly defined privacy as the right of
the individual to control the dissemination of information about oneself. [See Griswold v
Connecticut.] Privacy as guaranteed by the U.S. Constitution differs in two significant
ways from privacy protected by tort law: (1) the types of acts constituting an invasion of
privacy are very different, and (2) the type of protection provided to individuals -
constitutional privacy protects against governmental intrusion while tort law primarily
protects against invasion by private parties. Machine learn biometric surveillance of
minors is not an acceptable legal practice for a purported social media company.
      20. The contours of the constitutional right to privacy take on tort and statute
framework when private individuals are involved.15 The right to privacy encompasses
two (2) separate interests: (i) security of personal information and autonomy in making
important decisions or decisional privacy which includes rights of privacy in association.
Whalen, recognized by every Federal Circuit but D.C., has established the separate right
to informational privacy. These privacy rights are honored in part for “the deterrent
effect that threats of disclosure of personal information on minors’ decisions” will have
by breaching of those rights and retention of personal information without proper legal
14
  https://corporate.findlaw.com/law-library/right-to-privacy-in-the-workplace-in-the-information-age.html
15
  See Griswold v. Connecticut 381 US 479, 484 (1965) holding that penumbras surrounding the First, Third,
Fourth, Fifth, and Ninth Amendments created the right to privacy) and Whalen v. Roe 429 US 589 (1977) holding
that individuals have a right to privacy in their intimate lives.
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consent.16 Rights of minors to privacy which includes association, routine location or
“whereabouts” and biometrics (facial templates) have been protected as “the Court
delineated the three reasons to limit the scope as (i) they are of particular vulnerabilities,
(ii) have a lesser ability to make good decisions and (iii) there is a parental role in child
rearing that is due protection.17 In a public framework, “currently Courts consider the
possibility that an individual will be harmed by a future non consensual disclosure of
his/her private information when determining if a violation of the individual’s right to
informational privacy has occurred.18 The trafficking in minors images coupled with
location and biometrics information also created and creates an increased safety risk
which privacy rights are intended to protect.
       21. The Due Process Clause of the Fourteenth Amendment protects against
certain invasions which the Supreme Court has interpreted via “zones of privacy” that
are “deemed fundamental” or “implicit in the concept of ordered liberty” and “deeply
rooted in this Nation’s history and tradition”.19 Over time, the Court has determined that
this right to privacy protects matters related to “marriage, procreation, contraception,
family relationships, child rearing, education”, “certain intimate conduct” and
“association”. Defendants have breached both rights of privacy of Plaintiff minors and
others similarly situated and Facebook, now Meta, removed decisional privacy rights of
minors by practice. In Whalen, the Court recognized “the threat to privacy implicit in
the accumulation of vast amounts of personal information in computerized data banks or
other massive” files and left open comparable circumstances which likely violated
individual informational privacy. Defendants have accumulated vasts amounts of
personal information to include biometric facial recognition markers in violation of




16
   Minors’ Constitutional Right to Privacy, Helen L. Gilbert The University of Chicago Law Review: 1375 - 1410,
1376 (2007)
17
   Bellotti v. Barid, 443 US 622, 634 (1979)
18
   United States v. Westinghouse Electric Co, 638 F2d 570, 578 (3d Cir 1980) including “the potential for harm in
any subsequent non consensual disclosure” in a multi factored test to apply when weighing competing interests
in information disclosure.
19
   Roe v. Wade, 410 US 113, 152-153 (1973), quoting Palko v. Connecticut, 302 US 319, 325 (1937). The
Supreme Court first announced this right to privacy in Griswold, rooted in “penumbras” of the First, Third, Fourth,
Fifth, and Ninth Amendment’s concept of personal liberty.” 410 US at 153. See also Whalen, 429 US at 600 n 23
(quoting Roe and finding a right to privacy in the Fourteenth Amendment.)
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individual information privacy rights of minors20 as set out herein did violate reasonable
expectations of privacy and were converted for commercial benefit.
      22. For “zones of privacy” arguments, Plaintiffs had a legitimate expectation of
privacy as minors which is per se or not one that must be expressed, depending upon the
information disseminated by a third party. The Court has found that privacy protection
extends to personal communications as well as associations.21 Privacy invasions
implicates “a fundamental right or one implicit in the concept of ordered liberty” which
Defendants breached.22 Protection in privacy rights is afford to at minimum “the most
intimate aspects of human affairs”23 which association, whereabout locations and
biometric facial markers should include. Plaintiffs and other minors similarly situated
have a reasonable expectation of privacy as to not have images scanned, facially
recognized, stored with location information24, templated and otherwise commercially
appropriated.

                                     NATURE OF THE ACTION
                                    AND STATEMENT OF FACTS


20
   In Nixon v. Administrator of General Services former President Richard Nixon claimed his informational privacy
rights were violated and the Court applied a “comparatively weak” privacy right given he was a public figure and
the information protected was public in nature. Same is the lowest of comparative standards when considering
minors rights to privacy who by their very age likely lack the ability to given full consent to the information
obtained and certainly were not able to consent to the biometrics of facial recognitions which have been stored
and were templated by Defendants without proper legal permission.
21
   See Nixon, 433 US at 465. Also see Anderson v. Blake 469 F3d 910, 914 (10th Cir 2006)(Acknowledging the
right to informational privacy); James v. City of Douglas, 941 F3d 1539, 1543 (11th Cir 1991)(Recognizing the
confidentiality branch of the right to privacy); Richard C. Turkington, Legacy of the Warren and Brandeis Article:
The Emerging Unencumbered Constitutional Right to Informational Privacy, 10 NIU L Rev 479 (1990)
(Discussing the incipient right of privacy regarding dissemination of personal information.)
22
   See Bloch v. Ribar, 156 F3d 673, 684 (6th Cir 1998) The First Circuit has yet to define the scope of the right to
informational privacy but appears sympathetic to the Sixth Circuit’s narrow interpretation. See Vega-Rodriguez,
110 F3d at 183 (“suggests that the right of confidentiality protects only information relating to matters within the
scope of the right to autonomy” which applies in the fact-pattern at bar given the minors right to autonomy is
breached without proper legal consent.]
23
   Eagle v. Morgan, 88 F3d 620, 625 (8th Cir 1996) quoting WAde v. Goodwin, 843 F2d 1150, 1153 (8th Cir
1988).
24
   Marcus Zanders v. State of Indiana, 73 N.E.3d 178 (Ind. 2017) confirmed Carpenter v. United States, 585 US
—-, 138 S. Ct. 2206 (2018) which addressed cell-site location information (CSLI) finding an expectation of
privacy wherein seven (7) days of tracking existed. In the case at bar, every image represents a breach of the
reasonable expectations of privacy regarding location, the biometrics of a minor's facial markings/indicators,
associations and the like. See also Daily Times Democrat v. Graham, 162 So.2d 474 (Ala. 1964) (affirming a
judgment for invasion of privacy against a newspaper which published a photograph taken of a woman
when her dress was accidentally blown into the air at a local fair)
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      23. This case seeks to redress the damages caused and to prevent the ongoing
unjust enrichment, among other torts and antitrust violations, via the “digital conspiracy”
of the Defendants all done with the intentions of data harvesting which includes illegally
digitally farming via facial biometric recognition the images of minors. These
surveillance methods violate the right of privacy of each minor.
      24. The Platform was originally designed as a college “hook-up”, sex appeal
forum or otherwise site for students seeking to court and connect for dating purposes.
Thus, Defendant Zuckerberg and Facebook now Meta are aware of the power of the laws
of attraction found in photographs. Thus at all times Defendants have been aware of the
sensitive nature of photography and digital information.
      25. Defendants have illegally harvested, trafficked and stored Pandora’s box of
minors images in violation of their privacy rights and through back-door antitrust
processes. This makes minors less safe. Facial recognition biometric “template” and
“tags” posed and pose a real and concerning security threat to minors who are subjected
thereby to exploitation and image trafficking.
      26. These templates and the image “machine learn” algorithm has created a
reality where privacy rights of minors were invaded for profitious purposes without
proper legal consent. And each minor faces finding their template or likeness being
discovered or “pop-up” in the Metaverse, which is a virtual reality game. “I’ve long
believed that the nature of our industry is that someday a product will replace Facebook.
I want us to be the ones that build it, because if we don’t, someone else will. …”. This
was said in a Hearing Before the United States House of Representatives - Committee on
the Judiciary - Subcommittee on Antitrust, Commercial, and Administrative Law in July
29, 2020. That testimony of Mark Zuckerberg individually and for Facebook, Inc.
confirms the intended usage of the minors images trafficked over and above the already
experienced unjust enrichment from the same.
      27. The same principles, notwithstanding this action being a tort and statutory
action against private corporations and a private individual, applies with regards to the
process of privacy right breaches involving information. First, “acquisition describes the
collection of an individual's information” and secondly, “disclosure describes the sharing




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of an individual's information with an outside”25 or a third party. Plaintiffs did not
legally choose for their information, images and data to be acquisitioned and disclosed to
third-parties via the harvesting, biometrics and trafficking practices of the Defendants.
In fact, Defendants made promises as to how they would acquire and not unlawfully
disclose images yet trafficking of minors images occured on an unfathomable scale. The
“information need not to be embarrassing to be personal”26 and thus due protection from
tortious conduct and dissemination27.
      28. On behalf of these individuals, the minors and others similarly situated we
allege a breach of both Alabama Law and Federal Law regarding deceptive trade
practices and deceptive acts. Plaintiffs’ claim, among others, minors images were
facially scanned by Facebook, Meta, Starbelt, LLC, Mark Zuckerberg or any third-party
on behalf of same while engaging in deceptive trade practices and unjustly enriched
themselves to the damage and injury of the minor to include a heightened risk of digital
exploitation, sexual explotation and otherwise abuse of the minors rights of privacy.
      29. Images of the minors have time stamps to the minute and fractional second
with exact location as a property saved to the file. The harvesting allowed Defendants
the ability, which may be recreated, to know exact patterns of minors locations along
with associates and details from the images of residences. This extent of disturbing
database loading with the template, “digital fingerprint”, biometrics, without proper legal
consent are privacy violations and did unjustly enrich the Defendants.
      30. All Defendants have acted to breach minimum privacy protections of minors
afforded by the constitution in violation of antitrust laws, the laws regarding contracts
with minors, the laws regarding full faith and fair dealing, and both state and federal trust
laws. Specifically, the Defendants have breached §1 of the Sherman Antitrust Act. The
Defendants have gorged billions of dollars of profits unjustly and earned the same from
misconduct, anticompetitive corporate behaviors and statutory breaches. Defendants
conspired in market division.
25
   Lawall, 307 F3d at 790 (“Informational privacy’ applies both when an individual chooses not to disclose
sensitive information or is not afforded the legal choice” and “when an individual seeks or has certain assurances
that such information will not be made public”.)
26
   Alexander, 993 F2d at 1350 and Sheets, 45 F3d at 1388.
27
   In Gruenke v. Seip, a public high school student sued her high school swim coach for forcing her to disclose
her pregnancy and then sharing this private information with officials. The court first determines whether the
scope of the right to privacy exists and then makes a finding as to the students privacy interest was breached
holding, “the students’ privacy expectations is great”. Ongoing expectations of privacy regarding association,
surveillance of whereabouts and biometric facial recognition markers are privacy matters due protection.
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      31. Facebook is the world’s largest social media company, providing its users
with social networking services that enable them to connect and communicate with
family, friends and colleagues concerning subjects of common interest. Its name comes
from the face book directories often given to American university students.28 It was the
most downloaded mobile app of the 2010s. Facebook launched its social networking
service as The Facebook on February 4, 2004.29 It was founded by Mark Zuckerberg and
college roommates and fellow Harvard University students, in particular Eduardo
Saverin, Andrew McCollum, Dustin Moskovitz and Chris Hughes.30 The website's
membership was initially limited by the founders to Harvard students but was expanded
to other colleges in the Boston area, the Ivy League,31 and gradually to most universities
in the United States and Canada,32 33 corporations,34 and by September 2006, to everyone
with a valid email address along with an age requirement of being 13 and older.35 36 But
over time Facebook has evolved to become a harvesting platform. Commenting on the
evolution of Facebook Damian Collins MP, chair of the UK Parliament's Digital,
Culture, Media and Sport Committee said: "We have to seriously challenge the claim by
Facebook that they are not selling user data," "[t]hey may not be letting people take it
away by the bucket load, but they do reward companies with access to data that others
are denied, if they place a high value on the business they do together. This is just
another form of selling."37
      32. As of October 30, 2021, Facebook is described as “an American online
social media and social networking service owned by Meta Platforms.”38 It is basically a
“Platform” which by agreement allows users in real-time and space to connect with other

28
   https://en.wikipedia.org/wiki/Facebook
29
   Phillips, Sarah (July 25, 2007). "A brief history of Facebook" – via www.theguardian.com.
30
    Carlson, Nicholas (March 5, 2010). "At Last — The Full Story Of How Facebook Was Founded". Business
Insider. Retrieved November 26, 2015.
31
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2008. Retrieved March 5, 2008.
32
   Rosmarin, Rachel (September 11, 2006). "Open Facebook". Forbes. New York. Retrieved June 13, 2008.
33
   Nguyen, Lananh (April 12, 2004). "Online network created by Harvard students flourishes". The Tufts Daily.
Medford, MA. Archived from the original on August 7, 2011. Retrieved August 21, 2009.
34
   Lacy, Sarah (September 12, 2006). "Facebook: Opening the Doors Wider". BusinessWeek, New York.
Retrieved March 9, 2008.
35
   Abram, Carolyn (September 26, 2006). "Welcome to Fb, everyone". The Facebook Blog. Retrieved March 8,
2008.
36
   "Terms of Use". Facebook. November 15, 2007. Retrieved March 5, 2008.
37
   https://www.bbc.com/news/technology-46618582
38
   https://en.wikipedia.org/wiki/Facebook
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individuals digitally for social, family, friend, interests and professional/business
interactions. That is what users expect when creating an account and is what they are
promised per the terms of agreement. Social Media Platforms are driven to expand and
maintain the highest number of daily active users (DAUs). “The number of Facebook’s
daily active users (DAUs) currently stands at 1.908 billion people, meaning 65.9% of the
total monthly users’ log in on a mobile device or desktop each day.” 39
      33. This “digital connection” to the Platform in a real time, equal access setting
with the usage period being at the user's discretion at any time 24 hours a day, is the
consideration provided by Defendant Facebook per its terms and conditions. Facebook
did and does business in the State of Alabama to include soliciting and inviting new
users to create accounts on its platforms. Users also provided consideration with the
expectation that the digital “recollection” or capturing of “memories” in digital time
could be reflected upon and enjoyed in the future with the date, location, friends, and
other digital markers being utilized for the future recollection. Same were used to
harvest minors’ images.
      34. The recent name change to the manifest their intent and how the focal point
of the Defendants was and is "data harvesting" for profit40. And hence the common term
"metadata" has surfaced in the attempted rebrand as "Meta Platforms", name wise. This
“rebrand” is actually the culmination and otherwise de facto evidence of the conspiracy
between Defendants Facebook, Zuckerberg, and now Meta Platforms to unjustly enrich
themselves and otherwise tortiously profit from the users’ images to include minors
images and information. Facebook, while making promises of portability and open
source coding no later than July 20, 2018, is known to have a unilaterally drawn digital
form contract.41 In fact, The Huffington Post writes when referencing the volumes of
terms while maintaining a “change at will” provision for Facebook: “So, like every other
one of the world's 1.28 billion monthly active Facebook users, you blindly agreed to


39
   https://backlinko.com/facebook-users
40
   Notwithstanding the staggering profits from the systematic data harvesting and image farming, Zuckerberg’s
‘original founder’s letter’ indicates the pretexts: “we don’t build services to make money; we make money to build
better services.” https://about.fb.com/news/2021/10/founders-letter/ Same was said following years of illegal
services as set out herein.
41
   Illusory contract is a contract between two parties in which the consideration for the contract is illusionary. In
such contracts one party gives as consideration a promise that is so insubstantial that it would not result in or
impose       any     obligations.     Such     a     promise     would     make     the   contract  unenforceable.
https://definitions.uslegal.com/i/illusory-contract/
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Facebook's Terms and Conditions without reading the fine print.”42 Generally speaking
it is a constitutionally held tenant that minors legally should not and cannot waive
privacy rights by contract, but for Court order or medical exception, age considered. To
wit:

      Defendant Facebook, Inc. - An “accept” Platform window for one of the evolving
                 terms, digital form contracts over multiple generations.




                                                                                  43




      35. Facebook indisputably attempts to cover its bases with volumes of terms and
conditions and while the same are open ended, form terms that favor Defendants over
Plaintiffs. Defendants made certain promises and in exchange received significant
consideration. Defendant’s terms provide that Facebook now Meta “will respect your
choice when we use it” regarding data and information obtained about a particular user.
      36. Specifically Facebook states:




          42
            https://www.huffpost.com/entry/facebook-terms-condition_n_5551965
43
     Sourced: https://www.huffpost.com/entry/facebook-terms-condition_n_5551965
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      37. But no agreement or right to trafficking in minors images, templating and
creating a digital dossier of sorts and otherwise unjust enrichment of Defendants is
afforded. In fact, Facebook itself states time and time again that it is “learning” about
“your interests primarily from the things you do on Facebook…” and, as that
information grows, Defendants leverage same for profit and yet continues to fail to
deliver on its promise of portability and platform-to-platform migration. This occurred
while farming adult and even minors images for facial recognition biometric templating,
tagging and bundling. It is also believed that facial recognition “templates”44 have been
sold to third parties which may include contracts with public agencies.
      38. So, rather than remain objective and balanced in fulfilling its conditions and
promises, Facebook harvests more and more information about users.

     FACEBOOK BEGINS VAST DATA HARVESTING & IMAGE FARMING

      39. Defendant Facebook has so finely tuned data harvesting and images related
to minors and those associated it uses the practice of “demographic categorizing” to
include down to race and gender using biometrics. Investigating the matter, The
Huffington Post further contributes in reporting:


44
  The “template” is understood to be the primary image from which facial recognition markers are coded via the
feature used by Defendants. This template was then used for scanning of all other uploaded images by anyone
on Defendant’s Platform to compare, tag, bundle and store the images to include minors images cataloged on a
server at Starbelt, another location and or third-party servers which does not disclude servers on foreign soil.
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              “Brokers share this information among "multiple layers of data brokers
              providing data to each other," and then analyze the data to make "potentially
              sensitive inferences" about the consumer. These sensitive data points could
              range from health specifics, like high cholesterol, to broader demographic
              categories -- like the so-called "Urban Scramble," which includes a "high
              concentration of Latinos and African Americans with low incomes" or the
              so-called "Rural Everlasting," which includes single men and women over the
              age of 66 with “low educational attainment and low net worths."45

      40. Facebook is aware that individuals depend on its platform for not just “friend
connections” and “timeline photos” which are treated like a family album to many, yet,
used the same deceptively while minor image harvesting for biometrics, demographic
categories and other privacy information.
      41.
      42. Facebook also fraudulently suppresses its backdoor route to gathering
information and data harvesting for profit by purportedly offering a way out, yet, the
“opt out” provision is merely a “smokescreen” of terminology, all while not developing
portability and harvesting images and information on minors.
      43. FTC Chairwoman Edith Ramirez added her comment that given it is evident
Facebook only later revises the terms, outsources who gathers the users’ data after opting
out or otherwise later creates a “form offer” that restarts the data harvesting and believed
to do so in its entirety while platform-to-platform data portability and coding as
promised goes undeveloped.
      44. “Meta, the new name for the parent company that oversees Facebook and
Instagram, suddenly wants to be less creepy. According to a post on the Meta for
Business blog, the company is blocking advertisers from using detailed ad targeting
options that show ads based on your engagement in ‘sensitive’ areas including race or
ethnicity, religious views, political beliefs, sexual orientation, health, and a whole lot
more.” “We’ve heard concerns from experts that targeting options like these could be
used in ways that lead to negative experiences for people in underrepresented groups,”46
Graham Mudd, Meta’s vice president for marketing and ads, writes in the post.



45
     https://www.huffpost.com/entry/facebook-terms-condition_n_5551965
46
     https://www.theverge.com/2021/11/9/22773038/meta-detailed-targeting-ads-facebook-instagram-messenger
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Defendants were demographic categorizing minors and biometric scanning minors
images.
      45. Facebook now Meta has gone so far to collect locations on all its users and
are continuing to collect the same of users including routine “whereabouts” of minors
whose images where harvested and trafficked. To wit:




         46. The Huffington Post writes:
      “While you can clear your history and turn off the app at will, Facebook noted that it
      "may still receive your most recent precise location so that you can, for example, post
      content that's tagged with your location or find nearby places." So some amount of
      tracking is happening, no matter what.…”47




47
     https://www.huffpost.com/entry/facebook-terms-condition_n_5551965
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      47. Plaintiffs do not oppose data sharing and their digital identity being shared
with law enforcement for legal and constitutional purposes. Yet, any facial recognition
biometric templates of minors sold to third parties is illegal and by pattern a privacy
breach notwithstanding a later, less than full disclosure, claim by Defendant to have
deleted and removed the templates.
      48. The Court should note that Defendant actually acknowledges the agreement
is open ended. Defendant Facebook writes: “Your continued use of Facebook following
changes to our terms constitutes your acceptance of our amended terms”. To wit:




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      49. Thus open ended terms to allegedly justify trafficking in minors images and
biometric information. And the practice has not changed with Meta Platform, Inc.,
formerly Facebook, having perhaps assumed full ownership rights of the minors’ data
and images harvested which are believed to be stored in Huntsville, Alabama, among
other locations at Starbelt, LLC. Same is now being incorporated into a “virtual world”
or “virtual reality world” which any mature, rational mind acknowledges as a form of
video gaming. The perpetual inclusion in this “metaverse” video game to include data,
biometric demographics information, and scanned images obtained as part of data
harvesting, minor image trafficking, and deceptive trade practice is an ongoing damage.
The Platform currently notices:




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     50. The deception, abuse, and breaches of Facebook have not gone unnoticed by
the U.S. Government while the civil redress to private users has. According to Tony
Romm with The Washington Post who writes on July 24, 2019 regarding the $5 billion
Federal Trade Commission fine of Facebook, Inc. n/d/b/a Meta Platforms, LLC:

       “The U.S. government on Wednesday issued an unprecedented rebuke of
       Facebook after a year of massive privacy mishaps, charging that the company
       deceived its users and “undermined” choices they made to protect their data ...”48

     51. According to Romm, “the Federal Trade Commission alleged that Facebook
had repeatedly misled its 2.2 billion users.”49 And he reported, “Despite repeated
promises to its billions of users worldwide that they could control how their personal




48
   https://www.washingtonpost.com/technology/2019/07/24/us-government-issues-stunning-rebuke-historic-billion-
fine-against-facebook-repeated-privacy-violations/
49
   https://www.washingtonpost.com/technology/2019/07/24/us-government-issues-stunning-rebuke-historic-billion-
fine-against-facebook-repeated-privacy-violations/
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information is shared, Facebook undermined consumers’ choices,” FTC Chairman Joe
Simons said in a statement.”50
       52. The pattern of deception and abuse by Facebook went so deep that it was
found to have partnered with Cambridge Analytica to improperly gain access to 87
million Facebook users’ names, “likes”, and other personal details, all to monetize the
data and information it had harvested while precluding migration and transfer to a
competitive social media provider/carrier. It involved minors images and adult images
being stored, but not yet facially or biometrically templated so it is believed.
       53. As of March 13, 2021, Facebook reported 2.85 billion monthly active users,
and 1.88 billion daily active users. Facebook has become such a staple of 21st century
life - with huge numbers of people relying on it for daily news, product
recommendations, social interactions, family photo album timelines, and other social
interactions - that many politicians and academia have characterized it as a “public
utility”51, albeit digital as would electrical services be considered. Indeed, in a 2007
interview with Time, Facebook’s CEO, Mark Zuckerberg, himself characterized
Facebook as a “social utility”.52
       54. By December 2005, Facebook had reached six million users. On October 1,
2005, Facebook expanded to 21 universities in the United Kingdom and others around
the world. Facebook launched a high school version in September 2005, which
Zuckerberg called the next logical step. At that time, high school networks required an
invitation to join. This is the beginning of the “friend network” value appreciable and
utilized by Defendants to unjustly enrich themselves while making portability and
migration promises in writing, at least by July 20, 2018.



            FACEBOOK FOCUSES UPON LONG-TERM
MONETIZATION STRATEGY FROM DATA HARVESTING, MINOR’S IMAGE
                 FARMING & TRAFFICKING
                       [MARCH 2008]


50
   https://www.washingtonpost.com/technology/2019/07/24/us-government-issues-stunning-rebuke-historic-billion-
fine-against-facebook-repeated-privacy-violations/
51
    See also Dipayan Ghosh, “Don’t Break Up Facebook - Treat it Like a Utility”, Harvard Business Review (May
30, 2019); Anjana Susarl, Facebook shifting from open platform to public utility, UPI (Aug. 17, 2018)
52
   Lauren Locke, “The Future of Facebook”, Time (July 17, 2007)
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        55. In September 2009, Facebook stated that it had turned cash flow positive for
the first time, which has since, via the data and image harvesting, become an extremely
lucrative a platform.[81] In early 2012, Facebook disclosed that its profits had jumped
65% to $1 billion in the previous year when its revenue, mainly from advertising, had
jumped almost 90% to $3.71 billion.[82]
        56. In February 2010, Facebook acquired Malaysian contact-importing startup
Octazen Solutions.[88] On April 2, 2010, Facebook announced acquisition of a
photo-sharing service called Divvyshot for an undisclosed amount.[89] It was at this time
facial recognition scanning, the “template” of minor and adult images was created and
used until November 02, 2021.53 Thus for approximately eleven (11) years the
Defendants did farm minors’ and adults’ images as well as, biometric sorting, storing
and trafficking of the images. Same was a rampant practice and done without proper
legal permission and with illusory protections asserted.
        57. On April 12, 2012, Facebook acquired the photo sharing service, Instagram,
for approximately $1 billion in cash and stock.[91][92] Again, this indicates the move
towards gathering amateur images, family images, personal images, professional images,
and the like, all for no consideration paid, despite ongoing value being provided by the
Plaintiffs and other similarly situated users. On March 8, 2013, Facebook announced
that it acquired the team from Storylane, but not the product itself.[93] The acquisition is
the most ever paid for a venture-capital backed startup.[97] On March 25, 2014, Facebook
announced they had acquired virtual reality startup Oculus VR for $2 billion in cash and
stock.[98] In April 2014, Facebook launched anonymous logins so that people can use
apps without giving them their data, but images were discretely precluded and other
personal information was still harvested. Portability and open source coding went
undeveloped by actual and constructive design of Defendants. Facebook announced that
it hit the milestone of one billion users accessing it on a single day on August 27, 2015.
        58. For example, on December 27, 2016, the investigative nonprofit, ProPublica,
reported that it had identified more than 52,000 unique interest categories by Facebook
to classify its users.54 This includes race, gender and other demographics of minors



53
  https://www.bbc.com/news/technology-51309186
54
  Julia Angwin, Surya Matu and Terry Parris Jr., Facebook Doesn’t Tell Users Everything it Really Knows About Them,
ProPublica (December 27, 2016)
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without proper legal permission to have even harvested the minors’ images all via a
“machine-learned model” for enrichment and the “metaverse”.
       59. As part of its image and data harvesting operations, Facebook began facial
recognition scans under the pretext it would better the companies advertising revenues
by expanding its ability to track users’ spending and social habits and further expanded
its advertising network as the same allowed an “alert” which was not first built into the
algorithm. But Defendants used all of the images in hopes of profiting from advertisers,
third-party sales, and creating a “metaverse” to its own unjust enrichment and from
trafficking minors images.
       60. Thus, while Facebook alleges it was seeking to help to prevent people from
impersonating others55, Facebook expanded its use of facial recognition technology by
introducing a new tool that would alert people that a friend, or a friend of a friend,
uploaded a photo of them, even if they had not been tagged in the picture simply as a
byproduct of having the facial recognition biometrics scans already encoded into the
algorithm for image and data harvesting. It created a global web of exposure scanned and
tagged to individual Plaintiff minors and other minors similarly situated using their
images, facial biometrics and templating them.
       61. In December of 2020, Facebook was forced in Europe to modify its facial
recognition scanning of minors in response to a change in privacy laws.56 This harvesting
method went on purportedly until November 2, 2021, at which time Facebook now
Meta announced it was no longer going to utilize this feature and would be deleting the
“template” for its facial recognition algorithm. Same follows, however, that the
procuring and utilization of facial scans of minor’s images and adult’s images for profit
and otherwise transferring this information to third parties was part of the antitrust and
unjust enrichment profit scheme.

               FACEBOOK EXPANDS DECEPTIVE TRADE PRACTICES
55
   "Facebook Just Pushed Its Facial Recognition Into a Creepy New Future". sciencealert.com. Retrieved April 3,2018.
56
  “Facebook has switched off some of its child abuse detection tools in Europe in response to new rules from the
EU. The company said it has had no choice but to do so, since the new privacy directive bans automatic
scanning of private messages.” "This train crash has been approaching since the summer," said John Carr of the
Children's Charities' Coalition on Internet Safety. "Neither the EU nor one of the world's largest and most
powerful tech companies could find a way of avoiding it. It is a very sad day for the children of Europe.” "We are
heading for a very strange world if privacy laws can be used to make it easier for paedophiles to contact children,
or for people to circulate or store pictures of children being raped."”
https://www.bbc.com/news/technology-55399509
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              AS PART OF LONG-TERM MONETIZATION STRATEGY
           IN DATA HARVESTING, MINORS’ IMAGE TRAFFICKING and
                  DISCRIMINATORY “Demographic Categorizing”
                             [DECEMBER 2017]

      62. During the vast data harvesting and image farming of users and minors, and
those who would not even have an account, being biometric “templated” and stored,
Defendant Facebook made a “creepy” expansion, as it announced on December 19, 2017
that Facebook would not only simply use of all the users’ “images” (amateur, minors
non-account holders, personal, professional, and/or family), but also all of his/her
associations which by facial recognition were digitally known and stored via the
“template”. All was used for better categorizing, coding, and studying that user for the
purposes of selling to third-parties and building its “metaverse” while purporting to be an
objective, fair, community oriented social media platform. “If Facebook were a country,
it would be the most populous nation on earth.”57 Thus, Defendants have created
biometric templates and or likenesses for storage and a video game, albeit by derived
algorithm computer generated content, using minors images they trafficked without
proper legal permission and have imported the same by algorithm into a “metaverse”
which competes with the natural law world, minors rights to privacy and identity. All
was done for profit via illegal privacy breaches and deceptive trade practices.
      63. On February 16, 2017, Defendant Mark Zuckerberg (Facebook's principal
founder and CEO) pened a long note on his personal Facebook titled "Building Global
Community" that discusses having a supportive, safe, informed, civically-engaged, and
inclusive community, while actually developing closed source coding and while
biometric scanning minors images illegally. These same are deceptive business practices
and otherwise violate antitrust laws for the reasons set out herein.
      64. Facebook acquired “Boston-based biometric ID verification startup,
Confirm.io, which offers a system for verifying the authenticity of ID cards, biometrics,
and facial recognition.”58 This acquisition occurred in January 2018 and was the

57
   https://dzone.com/articles/how-is-facebook-deploying-big-data - “Facebook stands today as one of the most
popular social networking sites, comprising of 1.59 billion accounts, which is approximately the 1/5th of the
world's total population.”
58
   "Facebook acquires biometric ID verification startup Confirm.io". techcrunch.com. Retrieved April 3, 2018., "Confirm for
Community Safety Effort". bloomberg.com. January 23, 2018. Retrieved April 3, 2018.


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culmination of digital pieces for the platform necessary to maximize advertising profits
as the same now allowed another level of pixelation information to be harvested
regarding users. Facebook acquired personalized image search engine Dreambit on
January 11, 2018 for more minor and adult image biometric farming & image trafficking.

 FACEBOOK AND ZUCKERBERG DENY DECEPTIVE TRADE PRACTICES
  AS PART OF LONG-TERM MONETIZATION STRATEGY AND PROMISE
 OPEN SOURCE CODING, PLATFORM MIGRATION OF DATA HARVESTED
                    & IMAGE STEWARDSHIP
                         [APRIL 2018]

      65. Defendants utilized the “information superhighway” to harvest, facially
biometric and traffic the images of minors for profit. Regarding data “control” of the
user when questioned in a Congressional hearing, Zuckerberg would reject suggestions
from Congress members that Facebook users did not have enough control over their
data.[464] When Mark Zuckerberg appeared before the House Energy and Commerce
Committee in the aftermath of the Cambridge Analytica revelations, he tried to describe
the difference between "surveillance and what we do." "The difference is extremely
clear," a nervous-looking Zuckerberg said. "On Facebook, you have control over your
information... the information we collect you can choose to have us not collect."59 But
minors’ images and information illegally harvested and trafficked was not mentioned or
precluded. Thus, this was and is simply not objectively true.
      66. Zuckerberg also said, “I’m proud that we stand for American values like
giving every person a voice...” yet all Defendants did not give minors a voice before
biometric scanning, templating and storing their images and related digital identity to
include locations, race, gender, and associations. Facebook, now Meta, also utilized that
information and the images to create the “metaverse” which it now unjustly enriches
Defendants having used minors’ digital templates and identities in the development
process. Zuckerberg claimed they were “…competing as vigorously as we can within
the rules”, yet up until November 2, 2021 the Defendants were knowingly scanning
minors images for templating and biometric markers. Zuckerberg went on to say “…we

59

https://www.forbes.com/sites/thomasbrewster/2018/04/16/huge-facebook-facial-recognition-database-built-by-ex-
israeli-spies/?sh=7f9430ea7f18
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invest around $10 billion per year in research and development” while neglecting to
disclose the same involved machine learned templating, tracking and surveying or
spying in violation of privacy laws. Defendant Zuckerberg said: “Ultimately, I believe
companies shouldn’t be making so many judgments about important issues like harmful
content, privacy, and election integrity on their own. That’s why I’ve called for a more
active role for governments and regulators and updated rules for the internet.” Yet
Defendants suppressed their facial recognition, minor image harvesting and trafficking
practices. Defendants did so while knowing of its duty of “… protecting society from
broader harms.” The harvested and trafficked images and information were marshaled
while Defendants knew there were threats and risks de facto with the need for “new
technologies to tackle emerging threats like deep fakes.” Thus, Defendants continued
the minor image biometrics, harvesting and trafficking while knowing deep fake
technology was emerging and Defendants did so while also gathering from minors
routine “whereabouts” and location patterns for storage and profitious use. Defendant
Zuckerberg said: “We also contributed aggregated anonymized location data…” A
telltale sign of his awareness of the inherent dangers posed by trolling and trafficking in
minors images, hence minors biometrics, associations and exact locations are
“aggregated” and machine learned by Defendants practices.
       67. While before Congress, not a single member of the committee pushed the
billionaire CEO, Defendant Zuckerberg, about surveillance companies who exploit the
data on Facebook for profit. Forbes has uncovered one case that might shock them: over
the last five years a secretive surveillance company founded by a former Israeli
intelligence officer has been quietly building a massive facial recognition database
consisting of faces acquired from the giant social network. Jennifer Lynch, senior staff
attorney at the Electronic Frontier Foundation, said that if the facial recognition database
had been shared with the US government, it would threaten the free speech and privacy
rights of social media users. Plaintiffs allege a database with illegally harvested minors
images exists. Same has been shared with various third-party companies and
government agencies.
       68. Defendant Zuckerberg after farming billions of minors images and adult
images templated and sorted confirmed their intended transition: “We have also helped
advance nascent technologies like artificial intelligence (AI), augmented reality (AR),


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and virtual reality (VR).”60 Minors images stored and in any manner used for
“augmented reality” and “virtual reality” development is improper and violates the same
rights of privacy. Same is an appropriation of likeness for commercial use.
      69. The first thing people grab from their homes in a fire are their picture
albums. Facebook knew this and did gain this priceless level of control and ownership
over the personal, family, and friends’ pictures of the Plaintiffs and class of minors by
image harvesting and trafficking. Plaintiffs relied upon the terminology “Album” and
“Albums” when uploading personal photographs, business photographs, and other
content of value, some of which includes intellectual property and great sentimental
value that legal privacy rights were going to be honored by Defendants. Defendant
Facebook has evolved its platform into a conspiracy by and through the
“machine-learned model” to farm minors images bundled by template as well as adult
images. Defendants have breach the terms of the user agreements and law. Defendant
Facebook even had “live facial recognition systems” which identified the location of
those depicted in the images to include the patterns of locations of minors it farmed
images of and templated.61 “There is no doubt that Facebook is one of the largest Big
Data specialists, dealing with petabytes of data, including historical and real-time, and
will keep growing in the same horizon.”62




                                                                     63




      70. As part of their digital conspiracy, Defendants have also sold for value to
third parties with consideration not paid to the Plaintiffs, information, digital images,

60

https://docs.house.gov/meetings/JU/JU05/20200729/110883/HHRG-116-JU05-Wstate-ZuckerbergM-20200729.p
df
61
   https://www.bbc.com/news/technology-51309186
62
   https://dzone.com/articles/how-is-facebook-deploying-big-data
63
   https://www.bbc.com/news/technology-51309186
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photographs with facial recognition tags of minors and adults, and other digital tangibles
for value as part of its overall unjust enrichment and conspiracy to commit tort in
creating the metaverse. Facebook now Meta collects vast amounts of data globally from
each “User” which it has and does store under the company name Starbelt, LLC. These
companies, along with Defendant Zuckerberg, have made billions of dollars of profit
using the information and images unjustly gained and will continue to profit via unjust
enrichment from trading the minors images and from their likeness or appropriation in
the metaverse and with harvested storage of the images and data. These are tortious
unjust enrichments and in violation of the terms of agreement with promises to the
“Community” and both state and federal law.
      71. Defendants offered a “bait and switch” approach over time, gaining by
deception, tortious information, data and images from the Plaintiffs and those similarly
situated which was used to unjustly profit.
      72. In the “digital age”, the gaining or marshaling of information has great value.
As of October 2021, Facebook had a value of $880 billion.
      73. The Defendants used the likeness and image of the Plaintiffs without the
bargain for consideration and while expanding its monopolistic anticompetitive
practices. National Collegiate Athletic Association v. Alston held that even an amateur's
likeness is the property and right of that individual which defendants have trafficked in
to include images of minors used in algorithms to create a virtual reality game for profit.
All templating, biometrics and digitally identifying of minors images for storing and
commercial leverage was illegal. The National Collegiate Athletic Association
regarding federal antitrust64 law ruled the relationship was not simply “not a student’s
game”; it was an “organized commercial enterprise” featuring athletes that were “highly
profitable.”65 The same applies in this case, both principally and individually, as the
minors images were harvested by “organized commercial enterprise” along with others
and used for algorithm, software generated and machine learned metaverse which has
been and is “highly profitable”.66
      74. According to internal Facebook documents, and current and former
Facebook employees and contractors recently interviewed by various journalists,

64
   https://www.supremecourt.gov/opinions/20pdf/20-512_gfbh.pdf
65
   Alston v. NCAA at 78.
66
   https://www.law.cornell.edu/supct/cert/20-512
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Facebook actively solicits, encourages, and assists with data and information harvesting
which it utilizes and sells for value. This pattern shows the overall data and identity
harvesting purpose in privacy breach as Facebook.
      75. As ProPublica explained: “Every time a Facebook member likes a post, tags
a photo, updates their favorite movies in their profile, posts a comment about a
politician, or changes their relationship status, Facebook logs it.”67
      76. Defendant Zuckerberg is and has been aware of the detrimental reliance and
unjust enrichment of the Company while in breach of antitrust law. Zuckerberg has
maintained personal and professional control of the Company and has been said by
mentor Roger McNamee to have "the most centralized decision-making structure I have
ever encountered in a large company"68 when referring to Zuckerber’s control over
Defendant Facebook. Defendant Meta Platforms, Inc. formerly doing business as
Facebook, Inc. owns and operates the Facebook Data Center Huntsville which is located
at 100 South Profile Place NW, Huntsville, Alabama 35810 and consists of a 970,000
square foot facility69 purposed with data storage. The $750 million datacenter project in
Huntsville was previously known by the codename “Starbelt.” Starbelt is believed to be
the location where the bulk of the data, minors’ images globally harvested, and methods
of functioning and control at issue are warehoused. Defendants have conspired to ensure
all possible data, biometrics and other minors’ information is harvested and maintained
for the purpose of unjustly enriching themselves.
      77. Facebook now Meta created a “template” for each user and minors via the
facial biometrics recognition scans which was used thereafter for comparative scans of
images. “Understanding that led to a redesign of Facebook’s storage architecture,
keeping the Haystack service for hot photos, with F4, a slower tier, for warm storage of
images that haven’t quite stopped being viewed, before finally deleting the extra copies
and moving them to an offline cold storage facility.” The “cold storage” of minors and
adults scanned and sorted ...just rack after rack after rack of storage. 70
      78. The weight of the privacy breaches is enormous and the vastness of impact
then, now and in the future must be considered. To wit:

67
   Julia Angwin, Terry Parris Jr. and Surya Mattu, What Facebook Knows About You, ProPublica (December 28, 2016)
68
   Bissell, Tom (January 29, 2019). "An Anti-Facebook Manifesto, by an Early Facebook Investor". Archived from the
original on February 9, 2021. Retrieved November 25, 2019 – via NYTimes.com.
69
   https://baxtel.com/data-center/facebook-huntsville
70
   https://thenewstack.io/facebook-storage/
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     ● Every 60 seconds: 317 thousand status updates are added, 147 thousand photos are
       uploaded, and 54 thousand links are shared on Facebook
     ● Facebook users generate 8 billion video views per day on average, 20% of which
       are live broadcast
     ● In 2018, Facebook had 15 million square feet of data center space among its 15
       campuses around the globe that host millions of servers.71
     ● The actual minor image harvesting without proper legal permission given this
       volume of minor’s images already harvested and risk of and active trafficking of
       minors images using that harvested is a catastrophic risk which carries irreparable
       harm.


      79. There are more than 20 billion uploaded photos on Facebook, and each one
is saved in four different resolutions, resulting in more than 80 billion photos. As we
mentioned previously, Facebook users upload around 147,000 photos every minute
which makes it 2,450 photos per second.72 Defendants did thus harvest and traffic in
billions of minors images, indisputably in breach of privacy laws by introducing machine
learn biometric scanning.
      80. Facebook has as recently as November 2, 202173 announced it plans to
remove its facial recognition feature and delete all prior scans, but this comes after the
same was utilized for advertiser profits, enriched the Defendants unjustly and otherwise
disseminated to third parties as part of the data harvesting operation of minors images.
      81. Some estimates of the annual value of data per Facebook user range from $2
to $91.74 This is based on calculations and estimates of how much your data is worth to
Facebook. Thus, per average use to include having harvested their data and images the
annual value per account ranges from $2 to $91. And these images may be used in
perpetuity. PopularMechanics.com says: “As for the “worth” of your data, to derive a
(very) crude estimate, one could take Facebook’s 2018 first-quarter revenue ($11.97
billion), divide by the number of active users (1.45 billion), and come up with about

71
    https://www.pingdom.com/blog/the-software-behind-facebook/
72
    https://www.pingdom.com/blog/the-software-behind-facebook/
73
   https://www.theguardian.com/technology/2021/nov/03/why-is-facebook-shutting-down-its-facial-recognition-system-and-d
eleting-faceprints
74
    https://www.zdnet.com/article/how-much-is-your-data-worth-to-facebook/ - Emil Protalinski for Friending Facebook |
May 15, 2012 | Topic: Social Enterprise
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$8.25 per quarter, or $33 a year.”75 Pam Dixon, executive director of the World Privacy
Forum, says that a profile of your data exists which includes minors images. “..., if you
were applying to a private college, they might buy your data to find out if you can afford
tuition before deciding to admit you.”76
      82. All Plaintiffs and those similarly situated have exchanged as consideration
time, images, data, information, and friend networks only have sold to third-parties.
Plaintiffs also seek monetary relief in the form of damages and/or disgorgement of
profits unjustly earned by Facebook and the Defendants in conspiracy to advance
deceptive trade practices by collecting troves of minors images with biometrics.
      83. Plaintiffs seek monetary, declaratory, and equitable relief against Facebook,
Starbelt, LLC, and Zuckerberg on behalf of themselves and other similarly-situated
individuals by asserting claims for violations of Sherman Antitrust Laws, Section 1,
Deceptive Trade Practices and unjust enrichment. To wit:

           Facebook’s Terms of Service

Section 1 of Facebook’s Terms of Service (see supra note 7) (“TOS”) — titled “The
services we provide” — provides in relevant part:

           Our mission is to give people the power to build community and bring the world
           closer together. To help advance this mission, we provide the Products and
           services described below to you....
           “Use and develop advanced technologies to provide safe and functional services
           for everyone:
           We use and develop advanced technologies - such as artificial intelligence,
           machine learning systems, and augmented reality - so that people can use our
           Products safely regardless of physical ability or geographic location . . . And we
           develop automated systems to improve our ability to detect and remove abusive
           and dangerous activity that may harm our community and the integrity of our
           Products.”
           Section 3 of the TOS — titled “Your commitments to Facebook and our
           community” — provides in relevant part:


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     https://www.popularmechanics.com/technology/security/a21272151/facebook-data-money-value/
76
     https://www.popularmechanics.com/technology/security/a21272151/facebook-data-money-value/
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      We provide these services to you and others to help advance our mission. In
      exchange, we need you to make the following commitments....
      2. What you can share and do on Facebook:
      We want people to use Facebook to express themselves and to share content that is
      important to them, but not at the expense of the safety and well-being of others or
      the integrity of our community. You therefore agree not to engage in the conduct
      described below (or to facilitate or support others in doing so):
      1. You may not use our Products to do or share anything:
          ​ That violates these Terms, our Community Standards, and other terms and
             policies that apply to your use of Facebook.
          ​
          ​ That is unlawful, misleading, discriminatory, or fraudulent.
          ​
[Bold emphasis added]

     84. The Community Standards referenced in Section 3 of the TOS are
hyperlinked to a page that provides in relevant part: “Safety: We are committed to
making Facebook a safe place.” There are roughly “200 ‘social networking websites,’
and most people would not recognize the name of 195 of them”.77 Many corporate
Executives see and hold the opinion that: “Facebook is an advertising platform.”78
LinkedIn.com, Gab.com and the Truth Social Media Platform both offer similar features
but have not trafficked in minors images, minors demographic categories, biometrics,
and created dossiers for spying and surveillance for profit.

        FOLLOWING UNJUST ENRICHMENT AND ANTITRUST PRACTICES
              FACEBOOK BECOMES META PLATFORMS, INC.
                          [NOVEMBER 2021]

      85. From September 2021 to November 2021, Facebook makes and executes
upon prior plans to operate as “Meta Platforms” and is described as “an American online
social media and social networking service owned by Meta Platforms.”79 It is basically a

77
 https://healthcaresuccess.com/blog/medical-marketing-advertising/facebook-fundamentals.html
78
  https://healthcaresuccess.com/blog/medical-marketing-advertising/facebook-fundamentals.html Stewart Gandolf, Chief
Executive Officer at Healthcare Success - “Facebook is an Advertisers Platform”.

79
     https://en.wikipedia.org/wiki/Facebook
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“platform” which by agreement allows users in real-time and space to connect with other
individuals digitally for social, family, friend, interests, and professional/business
interactions. Yet, this follows years of data and image harvesting which was sold to third
parties for profit via demographic categorizing, biometrics and otherwise. Same also
follows Defendant Facebook purportedly “deleting” facial recognition data but not
before unjustly enriching themselves utilizing same and failing to disclose who/where
the data was transferred or stored prior to deleting. And how exactly it was used for the
“metaverse” purposes which clearly has commercial purposes appropriations and
likenesses
      86. Facebook, Inc. banning of the facial recognition is per se a remedial
measure, but does not forego the claims for enrichment during the data harvesting
period. Using the equivalent of users family photo album Defendants have tagged,
sorted, historically geolocated and stored minors images, minors videos files and
associates of minors that would as stored when hacked work like a Pandora’s box, digital
playbook for peda and the dark pornography industry and is simply otherwise a
systematic privacy breach of minors. In 2019 there were nearly 17 million reported
cases of online child sexual abuse material (CSAM), 94% of which stemmed from
Facebook now Meta.80
      87. Plaintiffs were deceived as to the extent of permission granted in the data
harvesting and minors’ image farming practices of Defendants. The facial recognition
template is the exemplar version of a fingerprint and Defendants knew the same when
harvesting minors photographs without proper legal permission. The practice and
concern was shared by Proxy Impact which is contracted regarding issues of “social
justice”.81 In 2019, there were more than 16.8 million reports of online child sexual
abuse material (CSAM) which contained 69.1 million CSAM related images and videos.
More than 15.8 million reports–or 94% –stem from Facebook now Meta and its
platforms, including Messenger and Instagram.82
      88. Reported incidents of child sexual exploitation have increased dramatically
from year to year over the past decade from 100,000 CSAM incidents ten years ago to
nearly 70 million incidents in 2019.83 The exponential growth of CSAM is tied directly
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   https://www.sec.gov/Archives/edgar/data/1326801/000121465920004962/s522201px14a6g.htm
81
   https://www.proxyimpact.com/about
82
   https://www.missingkids.org/gethelpnow/cybertipline#bythenumbers
83
   https://www.nytimes.com/interactive/2019/09/28/us/child-sex-abuse.html
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to the growth of the internet and social media.84 The link between child abuse and the
internet is even more evident given the significant uptick in both social media use
globally, pornography website visitations, and noticeable increases in child sex abuse
searches by child predators on public search engines during the COVID pandemic.85 4 5 6
      89.     With 180 countries and their school systems sending children home to
continue their education on Internet-connected devices, many kids are flocking to social
media to connect with friends and strangers during social isolation, as parents struggle
with juggling work or lack thereof and risks and stress from the pandemic, leaving many
children unsupervised online. “Facebook is by far and away the world’s largest source of
online child sexual abuse materials. The company has been harshly criticized by
governments, law enforcement and child protection organizations for its insufficient
efforts to prevent or stop CSAM.” Even, “Shareholders believe that the company needs
to report on its assessment of the risk of increased sexual exploitation of children…”
which stems from the troves of minors images and video files Defendants store.86



                                     COUNT ONE
                                UNJUST ENRICHMENT
                       ALL PLAINTIFFS AGAINST ALL DEFENDANTS

      90. Plaintiffs privacy rights and other similarly situated minors images, minors
moving pictures, video clips of minors, location information, friends network, legal
name, dates of birth, phone numbers, facial recognition markers, facial recognition
biometrics and other digital information of value without consideration and to the unjust
enrichment of the Defendants. Defendants promised to “build a better community” and
to provide “in exchange” a fair and equal access Social Media Platform and migration or
platform-to-platform per the July 20, 2018 promise. This includes Defendants engaging
in a form of corporate surveillance for profit in breach of privacy rights of Plaintiff
84

https://web.archive.org/web/20190928174029/https://storage.googleapis.com/pub-tools-public-publication-data/pdf/b6555a1
018a750f39028005bfdb9f35eaee4b947.pdf
85
   https://www.scientificamerican.com/article/the-coronavirus-pandemic-puts-children-at-risk-of-online-sexual-exploitation/,
https://static1.squarespace.com/static/5630f48de4b00a75476ecf0a/t/5ebc58d038eb072b909874ca/1589401809129/Impact+o
f+COVID-19+on+Online+Child+Sexual+Exploitation.pdf,https://www.hrw.org/news/2020/04/09/covid-19s-devastating-imp
act-children
86
   https://www.sec.gov/Archives/edgar/data/1326801/000121465920004962/s522201px14a6g.htm
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minors and minors similarly situated as same harvested minors images, locations,
associations and the like without proper legal permission. Minors did not have equal
bargaining power and received no consideration. These images were commercially
appropriated which is just one element of privacy laws that were breached to the unjust
enrichment of Defendants.
      91. Defendants, however, have designed a platform and unjustly enriched
themselves over years in anticompetitive practices. Defendant Facebook, Inc. now
operating as “Meta” exclaims in its “Letter from the Founder” which is Defendant
Zuckerberg: “The defining quality of the metaverse will be a feeling of presence — like
you are right there with another person or in another place. Feeling truly present with
another person is the ultimate dream of social technology.“87 Defendants have harvested
the date/time/location markers, biometric markers for algoritmy conversion or storage
and other general uses of images of minors to include Plaintiffs for profit.
      92. Defendants have commercially appropriated the likeness and images with
facial recognition of Plaintiff minors and those similarly situated.88
      93. Plaintiff One (#01) Jennifer Catrice Hill on behalf of A.F. a ten (10) year old
minor, Plaintiff Two (#02) Slade Miller on behalf of A.K.C.M. a six (6) year old minor,
Plaintiff Three (#03) Wesley Bolton Garmon on behalf of L.C.G. a fifteen (15) year old
minor, Plaintiff Five (#04) Wesley Bolton Garmon on behalf of L.K.G. a seventeen (17)
year old minor, Plaintiff Five (#05) Sarah F. Bailey on behalf of J.F.B. (14) year old
minor, Plaintiff Six (#06) Sarah F. Bailey on behalf of J.P.B. (13) year old minor,
Plaintiff Seven (#07) Sarah F. Bailey on behalf of W.C.B. (10) year old minor, Plaintiff
Eight (#08) Sarah F. Bailey on behalf of J.C.B. (6) year old minor, each assert
photographs of the minors were harvested, biometric via facial recognition and otherwise
unlawfully spied on for profit by Defendants directly or in conspiracy. Same were
stored, transferred to and from or otherwise made vulnerable following the illegal
harvesting and biometric application of facial recognition. The storage and transfers are
87
  https://about.fb.com/news/2021/10/founders-letter/
88
  See Schifano (holding that the use of a photograph of the plaintiffs sitting in a reserved section of a greyhound
park in an advertising brochure for the park was not a commercial appropriation because there was "no unique
quality or value in [the plaintiffs'] likenesses that would result in commercial profit to the [park] simply from using a
photograph that included them - unidentified and seated in a group"), compared to the case at bar wherein
commercial value was profited by Defendants; and Minnifield v. Ashcraft (reversing a grant of summary
judgment for the owner of a tattoo parlor who submitted photographs of the plaintiff's tattoo to a magazine, along
with his name and the name of his business, as it was reasonable to infer that the owner sought a commercial
benefit).
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alleged as separate and distinct acts which violate minors privacy rights. All commercial
appropriations via algorithm or metaverse code building using images harvested of
minors is consideration unjustly enriched to Defendants.
      94. Until August of 2015, Alabama did not recognise the right of publicity,
although it did recognise a common law invasion of privacy tort for the unauthorized
appropriation of personality, name, or likeness for the commercial use or benefit of a
defendant. On May 18, 2015, Alabama's governor signed into law the Alabama Right of
Publicity Act ('the Publicity Act'), located in Title 6, Chapter 5, Article 39 of the Code,
which became effective on 1 August 2015. Defendants have violated the rights of
Plaintiff minors and those similarly situated to privacy and in doing so have created a
right of publicity by using their appropriation and likeness for commercial use and
benefit. These images are stored in Huntsville, Alabama from where at some point the
commercial use was initiated by file storage or transfer to a server of Defendants. Under
the Publicity Act, a person or entity who uses or causes the use of the indicia of identity
of a person, on or in products, goods, merchandise, or services enter into commerce in
this state, for purposes of advertising or selling, or soliciting purchases of, products,
goods, merchandise, or services, or for purposes of fund-raising or solicitation of
donations, or for false endorsement, without consent shall be liable under this article to
that person, or to a holder of that person's rights.
      95. This transition to “Meta” follows no less than four (4) years of minors’
image harvesting, biometric marking and trafficking. Defendant Meta claims: “The
metaverse will not be created by one company. It will be built by creators and developers
making new experiences and digital items that are interoperable and unlock a massively
larger creative economy than the one constrained by today’s platforms and their
policies.”89 While the claim appears to encourage competition by alleging “the
metaverse will not be created by one company”, it deceptively leaves out the fact that
minors images, biometrics and identifying information was illegally used for profit and
value.
      96. Defendant Meta goes on to claim: “Privacy and safety need to be built into
the metaverse from day one.” So do open standards and interoperability90 This will


89
     Id.
90
     Bold emphasis added.
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require not just novel technical work — like supporting crypto and NFT projects in the
community — but also new forms of governance.”
      97. Defendant Meta also says: “Today we’re seen as a social media company.
Facebook is one of the most used technology products in the history of the world. It’s an
iconic social media brand.” Defendant Facebook, Inc. now operating as Meta considers
itself the “iconic” social media brand and fully intends to stay that way despite its
“rebranding” as a virtual reality world, effectively creating a video game using images of
minors and others without proper legal permission.
      98. Defendant Zuckerberg says: “I used to study Classics, and the word ‘meta’
comes from the Greek word meaning ‘beyond’. For me, it symbolizes that there is
always more to build, and there is always a next chapter to the story.” All the while,
Defendant Facebook, Inc., now known as Meta, has intentionally designed and
developed a social media platform which went “beyond” privacy rights of minors.
      99. Tech blogger Wayne Geyser writes: “Ever since Facebook bought the
image-sharing platform, Instagram, they have been coming up with new and better ways
to integrate the two platforms.”91 It should be noted that Defendant Facebook, Inc. owns
the social media platform “Instagram” and has jointly harvested images using biometrics
scanned.
      100. "The doctrine of unjust enrichment is an equitable remedy permitting the
court in equity and good conscience to disallow one to be unjustly enriched at the
expense of another.”92 Each and every dollar of revenue from the advertisers come from
harvested data and minors’ images of the users which were taken without the promised
and due consideration.93 Defendants did violate § 1 of the Sherman Act, which prohibits
“contract[s], combination[s], or conspirac[ies] in restraint of trade or commerce” in
unjustly enriching themselves.
      101. Defendants’ retention of profits and expending of the revenue earned from
the digital harvesting of minors images and info without proper legal permission and
those similarly situated, " means Defendants have unjustly enriched themselves as they
have the retention of a benefit unjust obtained."94 The retention of a benefit is unjust if

91
   https://influencermarketinghub.com/how-to-cross-post-to-instagram-from-a-facebook-page/
92
   Battles v. Atchison, 545 So. 2d 814, 815 (Ala.Civ.App.1989).
93
   Avis Rent A Car Sys., Inc. v. Heilman 876 So. 2d 1111, 1123 (Ala.2003)
94
   Welch v. Montgomery Eye Physicians, P.C., 891 So. 2d 837, 843 (Ala.2004) (quoting Jordan v. Mitchell, 705 So. 2d 453,
458 (Ala.Civ.App.1997)).
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"(1) the donor of the benefit . . . acted under a mistake of fact or in misreliance on a right
or duty, or (2) the recipient of the benefit . . . engaged in some unconscionable conduct,
such as fraud, coercion, or abuse of a confidential relationship. In the absence of mistake
or misreliance by the donor or wrongful conduct by the recipient, the recipient may have
been enriched, but he is not deemed to have been unjustly enriched."
      102. Each Defendant did conspire with the other in an ongoing profiteering
scheme to “harvest data” at the users’ expense and without due consideration per the
terms of the agreement while engaging in anticompetitive and deceptive practices. The
most recent change of “rebranding” Defendant Facebook, Inc. to become or to do
business as Meta Platforms is witness to the culmination of the conspiracy. This same
indicates very clearly that it has been and did become the “metadata” that Facebook, Inc.
became primarily interested in over its years of evolution and has deceived users into
giving up images. Each Defendant is guilty of unconscionable conduct to include fraud,
coercion, duress, and conspiracy and did enrich themselves. The extent of success or
failure of an unjust-enrichment claim95 depends on the particular facts and circumstances
of each case.96 Herein, the Plaintiffs were egregiously gorged on digital valuables to
include minors images with biometrics and demographic categorization in violation of
the Sherman Act, in violation of the terms & agreements with users and in violation of
the torts laws herein referenced.
      103. It is known, understood, and appreciated that machines, such as that utilized
in Facebook’s “machine learning” algorithm, assist humans with details of fond and
business value laden memories by storing and retrieving information or images from the
past. Each user understood this was an available feature and would remain available,
hence uploading pictures of a birthday party or the opening of a new business while
Facebook thereafter would modify the agreement and change the functionality of the
platform, and otherwise restrict access. Allowing Facebook to maintain that information
without redress of transferring the same to a competitive social media platform would

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   “In contrast, Montana courts require a showing of misconduct or fault on the part of the defendant to recover under an
unjust enrichment theory. ‘Unjust enrichment is an equitable doctrine wherein the plaintiff must show some element of
misconduct or fault on the part of the defendant, or that the defendant somehow took advantage of the plaintiff.’” Randolph
v. Peterson, Inc. v. J.R. Simplot Co., 239 Mont. 1, 778 P.2d 879, 883 (Mont. 1989) (citing Brown v. Thornton, 150 Mont. 150,
432 P.2d 386, 390 (Mont. 1967)). In Alabama, “The doctrine of unjust enrichment is an old equitable remedy permitting the
court in equity and good conscience to disallow one to be unjustly enriched at the expense of another.” Battles v. Atchison,
545 So. 2d 814, 815 (Ala.Civ.App.1989).
96
   Heilman, supra
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and is unjustly enriching Defendants Facebook, Zuckerg, Starbelt, LLC, and now Meta
Platform. Plaintiffs and those minors similarly situated plead unjust enrichment and
appropriation of likeness for commercial gain.

       WHEREFORE, Plaintiffs demand and pray for relief as hereinafter set forth.

                                COUNT TWO
                   ANTITRUST CLAIM PER SHERMAN ACT 97 and
                    DECEPTIVE BUSINESS TRADE PRACTICES
                 PLAINTIFF MINORS AGAINST ALL DEFENDANTS

      104. The Defendants by deceptive practices harvested and used minors likenesses,
minors images, minors video images, to include the Plaintiffs without privacy
consideration, as part of a data and image trafficking for profit practice and in reliance
upon for creation of the metaverse via algorithm and computer generated software. Per
privacy protections afforded to minors as constitutional minimums and the recent Alston
v. NCAA case, each individual wherein commercialized purposes exist are entitled to the
consideration of their likeness.98 99 Defendants engaged in a form of corporate
surveillance and harvesting for profit in breach of privacy rights of Plaintiff minors and
minors similarly situated. Alabama courts have described an invasion of privacy as
occurring when the defendant "intrudes upon a plaintiff's physical solitude or seclusion
or wrongfully intrudes into private activities in a manner that would outrage, or cause
mental suffering, shame, or humiliation to, a person of ordinary sensibilities."
      105. Plaintiff One (#01) Jennifer Catrice Hill on behalf of AF a ten (10) year old
minor, Plaintiff Two (#02) Slade Miller on behalf of AKCM a six (6) year old minor,
Plaintiff Three (#03) Wesley Bolton Garmon on behalf of LCG a fifteen (15) year old
minor, Plaintiff Five (#04) Wesley Bolton Garmon on behalf of LKG a seventeen (17)
year old minor, Plaintiff Five (#05) Sarah F. Bailey on behalf of J.F.B. (14) year old
minor, Plaintiff Six (#06) Sarah F. Bailey on behalf of J.P.B. (13) year old minor,
Plaintiff Seven (#07) Sarah F. Bailey on behalf of W.C.B. (10) year old minor, Plaintiff
97
   In LEEGIN CREATIVE LEATHER PRODUCTS, INC. v. PSKS, INC. (No. 06-480) 171 Fed. Appx 464.
98
   https://www.si.com/college/2021/03/30/ncaa-supreme-court-athlete-rights-name-image-likeness,
https://www.cbssports.com/college-football/news/supreme-court-cracks-ncaas-amateurism-with-unanimous-decis
ion-allowing-unlimited-benefits-tied-to-education/
99
   https://www.supremecourt.gov/opinions/20pdf/20-512_gfbh.pdf - Alston v. NCAA
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Eight (#08) Sarah F. Bailey on behalf of J.C.B. (6) year old minor, each alleged
photographs of the minors were harvested, biometric via facial recognition and otherwise
unlawfully received as an upload while Defendants engaged in deceptive trade practices
and otherwise violated the Sherman Antitrust Act to obtain the same. All similarly
situated minors that will compose the class herein assert a claim for deceptive trade
practices.
      106. Plaintiff Bailey had a Facebook account which was established in 2008 and
she has approximately one thousand seven hundred (1,700) “friends” on the Platform
which has since been referred to as the Meta Platform. Plaintiff Sarah F. Bailey is a
counselor who serves as a contractor for public schools to include at least seven (7)
schools within the general Birmingham area over the preceding ten (10) years.
      107. Plaintiff Bailey alleges the biometrics machine learning of minors and
otherwise privacy breaches of her minor children and she has good faith reason to
believe that minors in contract with the schools she serviced were biometrics using her
account.
      108. During her work with children she encourages parents to set goals and
celebrates the relationships and success of her client minors. She has serviced client
minors in schools in Hueytown, Alabama, Midfield, Alabama, and Irondale, Alabama,
Birmingham, Alabama. While operating within the privacy laws and obtaining proper
legal releases per school policy regarding the minors photos with her during her
professional services photographs were taken. Those photographs were uploaded to the
Platform with a reasonable expectation that the same would be not disseminated in a
manner nor used to obtain biometric or demographic information of the minors in
accordance with privacy expectations minors are afforded.
      109. Defendants collectively scanned, harvested, utilized the photographs of
minors, to include Plaintiff Bailey’s children and minors she was in contract with via
public and private school boards to provide professional counseling services for. Those
photographs of minors were harvested in a for-profit, for-enrichment and otherwise
alternative purpose to that which the Social Media was promising and were utilized via
machine-learning technology and algorithmes to “spy”, conduct “surveillance” or
otherwise gather digital information and depictions of the minors in breach of privacy
laws and while Defendants were in violation of the Sherman Antitrust Act.


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      110. Plaintiff Bailey is a mother of the four (4) minors, J.F.B., J.P.B., W.C.B. and
JCB, which consist of the natural genders of three (3) boys and one (1) girl. Plaintiff
Bailey has posted photographs with an expectation that the same would be afforded the
privacy protections due. These photographs were posted onto the Platform for the years
2008 to recent. Plaintiff Sarah Bailey is a life coach and counselor and operates
providing services to patient/client minors as “Coaching for Kids”. She uses and used
the Platform as a means of providing public communications to parents of her minor
clients. She also posts notices regarding scheduling and encouraging, informative
“memes”. She shares Department of Education and other public awareness posts as well
as photographs depicting her minor clients. and encouraging mental health and
emotional wellbeing. Specifically: “At Coaching for Kids, our mission is to expose
children to the principles of Emotional Intelligence, in a way that fosters intrinsic
motivation, is character focused, and builds a sense of self-worth, empathy, and
confidence with gratitude and humility.”100
      111. Plaintiff Bailey, using the Platform page, Coaching for Kids, has posted
photographs from Midfield High School, McAdory School, Highlands School, Prince of
Peace and other public and parochial schools.
      112. Specifically on August 4, 2021 photographs were posted to the Platform by
Plaintiff Bailey of Emotional Intelligence activities and lessons with minor students
participating. These images were uploaded in good faith with an expectation that
privacy laws were being honored by the Platform only to learn of the machine learned
biometric facial recognition practices and otherwise minor image harvesting practice of
Defendants.
      113. On July 15, 2021 photographs of “MIND GROWN” Camp for minors were
posted under the release terms with the school and uploaded to the Platform with an
expectation of Defendants to respect the privacy rights of the minors depicted. But these
pictures with thirty-four individual pictures of various minors within them were
uploaded to the Platform. Defendants thereafter implemented facial recognition,
location tracking, and image property storage of the minors depictions using machine
learn application and algorithms in violation of privacy laws and following deceptive
trade practices to harvest the same.


100
      https://www.facebook.com/coachingforkidsbirmingham/
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      114. On June 17, 2021 at McAdory Middle School in compliance with the
schools release policy Plaintiff Sarah Bailey uploaded photographs of minors onto the
Platform as part of her contract services and promoting emotional intelligence and
wellbeing of minors. The pictures, containing approximately fifteen (15) student minors,
were scanned, stored and otherwise harvested in a manner that is now understood to have
breached those minors privacy rights and was done by deceiving Plaintiff Bailey into
believing the Defendants were committed to the Platform’s privacy promises while in
fact biometric, location and other digital factor surveillance of minors was executed by
Defendants. All Plaintiffs and other minors similarly situated were sorted, stored, and
biometric scanned by Defendants following deceptive practices.
      115. Mind Grown Summer Camp was held at Highlands School on June 14 - 18,
2021 for Grades 4th and 5th and on July 26 - 30, 2021 for grades 6th, 7th and 8th by
Plaintiff Bailey. These contract summer camps for the emotional well being were used
by Defendants to digitally spy on minors and otherwise for the uploaded photographs
seek to biometric of minors by the practices herein asserted.
      116. Plaintiff Bailey has uploaded in good faith and reliance upon the privacy
laws, under release with the school, photographs on March 1, 2021 of Prince of Peace
Catholic School in Hoover, Alabama which requires blurring of the minors faces. Same
was done by Plaintiff Bailey in compliance with that school's policy. Yet the other
schools policy do not provide that additional requirement and photographs of minors at
those schools were uploaded and Plaintiff Bailey and minors have privacy expectations
that should not require the blurring to prevent machine-learning algorithms from
biometrics by facial scanning, tagging, location marking and or otherwise engaging in
digital surveillance and spying upon minors.
      117. On August 24, 2020 the Plaintiff Sarah Bailey in good faith uploaded
pictures from Highlands School of minors engaging in activities with Coaching for Kids.
Photos by release policy were posted and shared from Highlands School group page
which depict a group virtual learning session and two (2) minors within the photograph
who are virtual learning. These photographs were subjected to the biometric facial
recognition scanning, location logging, and association storage practices in violation of
privacy rights by Defendants. Same were obtained by deceptive trade practices of
Defendants.


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      118. On January 15, 2020 photographs depicting two (2) minors were uploaded
by Plaintiff Sarah Bailey which she alleges were subject to the privacy breaching
practices and facially biometric scanned following her upload. This photo was taken at
Highlands School whose Facebook group is “tagged” or associated in the post. These
and all other posts depicting third-party minors Plaintiff Bailey herein makes a claim for
wherein the same were biometric facial recognition scanned and otherwise subject to
privacy violations. Same affected in practice other similarly situated minors who are due
to be added to the class.
      119. Plaintiff Bailey is concerned over the facial recognition and related biometric
indicators which were harvested by Defendants related to her minor children and any
other minor children depicted in a photograph uploaded to the Platform. Plaintiffs assert
that “Facebook” illegally utilized the Platform and uploaded images and information of
association each and every time a photograph of a minor was uploaded and Defendants
received the same, facially recognized/tagged/templated a minor.
      120. Plaintiffs allege per the various news outlet reports that data and privacy
breaches have occurred which Defendants have a duty to notify the subjects whose
information was compromised due to breaches. Plaintiffs allege the biometric
application with storage on Defendants’ servers was a privacy breach and done as a part
of a deceptive trade practice of Defendants. Plaintiff Bailey, Plaintiffs and others
similarly situated in good faith and with the assurances of the law provided Defendants
with images of her minor children and minors in contract which are stored at Starbelt,
LLC or one of the servers connected to that database hub which is located in Huntsville,
Alabama. Plaintiff Bailey alleges transfer by Defendants of the images or related
demographic information to third-parties, whether by breach or for sale, has occurred
which depicts the minors on school grounds and her minor children. All Plaintiffs and
those similarly situated minors in Alabama, the U.S. and reserved globally do allege the
same.
      121. Antitrust refers to the regulation of the concentration of economic power,
particularly with regard to trusts and monopolies. Antitrust laws exist as both federal
statutes and state statutes. The three key federal statutes in antitrust law are the Sherman
Act, Section 1, the Sherman Act, Section 2, and the Clayton Act. The Sherman Act,
Section 1 delineates and prohibits specific means of anticompetitive conduct, and
Section 2 deals with end results that are anti-competitive in nature. Sections 1 and 2
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supplement each other in an effort to outlaw all types of anticompetitive conduct. The
Clayton Act regulates the mergers or acquisition of the companies together with the
guidelines published by the Department of Justice and the Federal Trade Commission.
As for the states, many have adopted antitrust statutes that parallel the Sherman Antitrust
Act to prevent anticompetitive behavior within individual states. The Defendants did
engage in “market division” by its demographic categorizing, minors biometric
scanning, and were thus and were in breach of antitrust laws. Same conspired to and as
set out herein did work to create a division of markets using minors images, minors
videos and minors likeness to create digital dossiers and a metaverse video game.
      122. Penalties for violating the Sherman Act can be both criminal and civil (most)
enforcement actions are civil). Defendants did fix the value of the information, method,
and data harvested across the platform and Digital Information Storage markets in
violation of antitrust laws and, specifically, the Sherman Act while breaching privacy
protections.
      123. All the data and minor image harvesting were done as a means of
monopolizing on profits in the informational age without rendering the due consideration
and in breach of privacy rights of the minors. Defendants have now expanded their
antitrust and anti competition tactics by rebranding as “Meta Platform” with the sole
intention using the data and images harvested.
      124. In the Sherman Act, Congress tasked courts with enforcing a policy of
competition on the belief that open market forces “yield the best allocation” of the
Nation’s resources, but Defendants did exploit minors images and likeness in its
insatiable pursuit of profits gain and market dominance in the virtual world and
data/image harvesting industry. Nat’l Collegiate Athletic Assn. v. Board of Regents of
Univ. of Okla., 468 U. S. 85, 104, n. 27 (1984).
      125. In Leegin Creative Leather Products, Inc. v. PSKS, Inc.101, the Court
confirmed antitrust litigation may be maintained where market fixing is occurring to
include “vertical agreements”. The accepted standard for testing whether a practice
restrains trade in violation of §1 is the rule of reason, which requires the factfinder to
weigh “all of the circumstances,” Continental T. V., Inc. v. GTE Sylvania Inc.,433 U. S.
36 , including “specific information about the relevant business” and “the restraint’s
history, nature, and effect,” State Oil Co. v. Khan, 522 U. S. 3. Plaintiffs claims involve a
101
      (No. 06-480) 171 Fed. Appx 464.
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conspiracy to create a cross-market agreement between Facebook, Inc. and Starbelt, LLC
along with and at the direction of Defendant Zuckerberger to restrain competitive trade
in the virtual reality gaming business by mass harvesting of minors images and image
videos in an anticompetitive practice which sought to gain and did gain market
advantage.
       126. Defendants did violate §1 of the Sherman Act, which prohibits “contract[s],
combination[s], or conspirac[ies] in restraint of trade or commerce” which Defendants
did by conspiring.
       127. The Sherman Act’s prohibition on restraints of trade has long been
understood to prohibit only restraints that are “undue.”102 Whether a particular restraint is
undue “presumptively” turns on an application of a “rule of reason analysis.” Texaco,
Inc. v. Dagher, 547 U. S. 1, 5. That manner of analysis generally requires a court to
“conduct a fact-specific assessment of market power and market structure” to assess a
challenged restraint’s “actual effect on competition.” American Express, 585 U. S., at
___. Pp. 15–24. a party cannot declare a restraint “immune from § 1 scrutiny” by
relabeling it a product feature. Am. Needle, Inc. v. Nat’l Football League, 560 U. S. 183,
199, n. 7.
       128. The Defendants did engage in deceptive and predatory trade practices in
violation of antitrust laws and the Sherman Act.103 Similar to a paid subscription or
utility contract the user gives consideration. This consideration is afforded based upon
the expectations of the user as to the functioning of the platform interface and after the
terms and agreements are accepted time, friend association, and the digital images and
information are provided by the user.


102
   Ohio v. American Express Co., 585 U. S. 345 (2018)
103
   In WEYERHAEUSER CO. v. ROSS-SIMMONS HARDWOODLUMBER CO. (No. 05-381) 411 F. 3d 1030 the
Court held that predatory schemes whether to manipulate price or value are antitrust law violations. Specifically,
“Predatory pricing is a scheme in which the predator reduces the sale price of its product hoping to drive
competitors out of business and, once competition has been vanquished, raises prices to a supracompetitive
level. Brooke Group established two prerequisites to recovery on a predatory-pricing claim: First, a plaintiff must
show that the prices complained of are below cost, 509 U. S., at 222, because allowing recovery for above-cost
price cutting could chill conduct—price cutting—that directly benefits consumers. Second, a plaintiff must show
that the alleged predator had “a dangerous probability of recouping its investment in below-cost pricing,” id., at
224, because without such a probability, it is highly unlikely that a firm would engage in predatory pricing. The
costs of erroneous findings of predatory-pricing liability are quite high because “ ‘[t]he mechanism by which a firm
engages in predatory pricing—lowering prices—is the same mechanism by which a firm stimulates competition,’ ”
and therefore, mistaken liability findings would “ ‘ “chill the very conduct the antitrust laws are designed to
protect.” ’ ” Id., at 26. Pp. 4–7.”
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      129. The Defendants did engage in deceptive and predatory trade practices given
“Editorial Images” of minors is generally accepted yet the practice of facial recognition
scanning, templating a minor, sorting and storing ones images is not when considering
the means and mode of machine learn scans and biometric markings. Harvested images
of minors following scans include photographs of minors they do not even know exist
which were tagged and or templated and stored by Defendants. Same includes even
photographs the minor may later discern as inappropriate for legal reasons, be adversely
affected by associations that are privacy protected, and yet have had the image scanned
tagged, disseminated and stored by Defendants.104 There are also minors similarly
situated who have this future risk created with the reality of the harvested images.
      130. Defendants, in breach of the antitrust laws, have leveraged this information
while breaching minors privacy rights. Thus, Defendants did code and categorize minor
users and other minors similarly situated, to include by race and gender, using its
machine learn technology and profited off the same. Defendants and third-parties retain
in perpetuity the information obtained and images harvested for profits and value added
to the metaverse. When analyzing an antitrust case involving predatory practices, the
Court must consider a two (2) prong test.105 Defendants unfairly used these images to
propel themselves ahead in the virtual reality gaming industry and the same was done in
violation of Sherman.
      131. Plaintiffs and those similarly situated asserted Sherman Antitrust violations
to include deceptive trade practices by Defendants.

104

https://www.lawyers.com/legal-info/family-law/child-abuse-and-neglect/baby-pictures-or-child-pornography.html
According to Janet Portman, Esquire - “Creating, distributing, and possessing child pornography is illegal under
federal and state laws. However, not all images of nude children amount to child pornography, because images
of naked children, without more, are protected under the First Amendment (as a form of freedom of speech). For
example, a family photo of a child in the bathtub presumably would not be illegal. But, what about that “without
more?” There’s the issue: the context of the photo can turn it from an innocuous snapshot into a piece of child
pornography.“
105
    ​In WEYERHAEUSER CO. v. ROSS-SIMMONS HARDWOODLUMBER CO. (No. 05-381) 411 F. 3d 1030 the
Court confirmed, the Brooke Group’s two-pronged test should apply to predatory-bidding claims. A
predatory-bidding plaintiff must prove that the predator’s bidding on the buy side caused the cost of the relevant
output to rise above the revenues generated in the sale of those outputs. Because the risk of chilling
procompetitive behavior with too lax a liability standard is as serious here as it was in Brooke Group, only higher
bidding that leads to below-cost pricing in the relevant output market will suffice as a basis for predatory-bidding
liability. A predatory-bidding plaintiff also must prove that the defendant has a dangerous probability of recouping
the losses incurred in bidding up input prices through the exercise of monopsony power. Making such a showing
will require “a close analysis of both the scheme alleged by the plaintiff and the [relevant market’s] structure and
conditions,” 509 U. S., at 226. Pp. 12–13.
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                             COUNT THREE
                     FRAUDULENT SUPPRESSION AGAINST
                       DEFENDANTS FACEBOOK/META

      132. Defendants fraudulently suppressed the spying on minors’ practice. The
Plaintiffs and those similarly situated have provided significant consideration of images
and data which is indisputably utilized by Defendants to profit between nine ($9) dollars
up to one hundred and ten ($110) dollars on average per year per user/account. The
digital information afforded was given up by Plaintiffs and other similarly situated users
in exchange for fair and reasonable access to the platform. Yet Defendants were
systematically gathering images of minors with machine-learn surveillance technology.
These images were obtained by fraudulent suppression and commercially appropriated
by Defendants.
      133. Deep fakes—videos or audio that “use artificial intelligence to make
someone appear to do or say something they didn’t—could evolve to become even more
realistic and interactive in a metaverse world.”106 Every image stored by Defendants that
was subject to biometric facial recognition and otherwise stored with information in
beach of the minor’s privacy rights are at per se risk of use for deep fake, or otherwise
were saved in breach of privacy rights.
      134. Plaintiff One (#01) Jennifer Catrice Hill on behalf of AF a ten (10) year old
minor, Plaintiff Two (#02) Slade Miller on behalf of AKCM a six (6) year old minor,
Plaintiff Three (#03) Wesley Bolton Garmon on behalf of LCG a fifteen (15) year old
minor, Plaintiff Five (#04) Wesley Bolton Garmon on behalf of LKG a seventeen (17)
year old minor, Plaintiff Five (#05) Sarah F. Bailey on behalf of J.F.B. (14) year old
minor, Plaintiff Six (#06) Sarah F. Bailey on behalf of J.P.B. (13) year old minor,
Plaintiff Seven (#07) Sarah F. Bailey on behalf of W.C.B. (10) year old minor, Plaintiff
Eight (#08) Sarah F. Bailey on behalf of J.C.B. (6) year old minor, each allege
photographs of the minors were obtained by fraudulent suppression as to the practices

106


https://www.bloomberg.com/news/articles/2021-12-15/misinformation-has-already-made
-its-way-to-facebook-s-metaverse
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engaged in by Defendants that breached minors privacy rights. Same includes the
biometric machine-learn via facial recognition surveillance and spying feature which
resulted in harvested troves of minors photos and those similarly situated. Defendants
did unlawfully, via deceptive trade practices regarding the extent of their use, receive
uploaded photos of the minors and others similarly situated. Defendants engaged in
deceptive trade practices and otherwise violated the Sherman Antitrust Act to obtain the
same.
      135. Facebook now Meta expanded its use of facial recognition technology107 and
Facebook did this scanning without permission. It is believed all scanning from
November of 2017 up and until November 2, 2021, and all the images of minors
harvested were used for profit and obtained by fraudulent suppression of the extent of
practices being utilized and legalities.
      136. This harvesting method and biometrics of minors practice went on
purportedly until November 2, 2021 when Facebook and Meta announced it was no
longer going to utilize this feature and would be deleting facial recognition scans. The
same follows, however, utilizing the facial scans for profit and transferring this
information to third parties as part of the fraudulent antitrust and unjust enrichment profit
scheme.
      137. “Companies including Apple Inc., Microsoft Corp. and Facebook parent
Meta Platforms Inc. are racing to build out the metaverse, an immersive digital world
that evangelists say will eventually replace some in-person interactions. The technology
is in its infancy, but industry watchers are raising alarms about whether the nightmarish
content moderation challenges already plaguing social media could be even worse in
these new virtual- and augmented reality-powered worlds.”108 Meta knew the “content
moderation challenges” as it was harvesting minors images and fraudulently suppressed
their privacy breaching practices.
     138. Defendants have gorged themselves of billions of dollars of profits from data
and images harvested which Plaintiffs and others similarly situated provided while

107
    "Facebook Just Pushed Its Facial Recognition Into a Creepy New Future". sciencealert.com. Retrieved April
3,2018.

108

https://www.bloomberg.com/news/articles/2021-12-15/misinformation-has-already-made-its-way-to-facebook-s-m
etaverse
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believing that they would be provided fair treatment and equal protections. The
conspiracy was and is an ongoing calculated conspiracy to harvest photo files, biometrics
and data for the Defendants without consideration to the Plaintiffs and other similarly
situated users.
      139. Defendants Facebook, Inc., Starbelt, LLC, and Zuckerberg have conspired
and are conspiring to keep from the users the extent of inner working algorithms which
were designed to harvest as much data and many minors images and video files as
possible for advertising sales revenue, long-term use via storage, sale on the open market
to third parties and at some level incorporation into the metaverse. There are 1.84 billion
daily Facebook users. 109
      140. Defendants Facebook Inc, Starbelt, LLC, and Zuckerberg did conspire with
Meta Platforms to transfer all ownership of the digital images and digital information at
issue to the new company, Meta Platforms, or under the operations of the new platform
as part of its fraudulent conspiracy and fraudulent suppression. Defendant Meta
Platforms is manifesting the intentions of the other Defendants from years of evolution
and operations within the fraudulent conspiracy as the name itself illustrates the intent -
“data harvesting” or more clearly stated “metadata harvesting” for profit and metaverse
appropriation.
      141. Tracking, data and minor image harvesting for profit was not part of the
original agreement, and this practice with its profit interests were not disclosed in good
faith and were fraudulently suppressed. Facebook now Meta expanded its use “of facial
recognition technology by introducing new tool that would alert people that a friend, or a
friend of a friend, uploaded a photo of them, even if they haven't been tagged in the
picture simply as a byproduct of having the facial recognition scans already encoded into
the algorithm for image and data harvesting.”110 Facebook did this scanning of minors
images without proper legal permission and in disregard to privacy protections afforded
to minors from at least November 1, of 2017 up and until November 2, 2021.
      142. This harvesting method went on purportedly until November 2, 2021 when
Facebook and Meta announced it was no longer going to utilize this feature and would
be deleting facial recognition scans. The same follows, however, that utilizing the facial
109
   https://99firms.com/blog/facebook-statistics/
110
    "Facebook Just Pushed Its Facial Recognition Into a Creepy New Future". sciencealert.com. Retrieved April
3,2018.


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scans for profit and transferring this information to third parties as part of the fraudulent
suppression practices.
      143. The fraudulently suppressed expansion to facial scanning recognition was
for profitous purposes and otherwise was not entirely shared with users. The additional
level of harvesting by facial scanning was announced on December 19, 2017 and
included amateur, personal, professional and family images. These were harvested for
value and the extent of harvesting and sales to third parties was fraudulently suppressed.

                                DAMAGES - GENERAL & SPECIFIC


The Plaintiffs, herein plead damages as follows:


           Injunctive relief should be entered compelling the Defendants (a) identify to
Plaintiffs, at cost to the Defendants, any and all templates, biometrics, facial recognition
files, dossiers and otherwise minor’s digital identity files which have been harvested,
stored and or trafficked. This includes themselves and those minors similarly situated.


           The State Class Plaintiffs Claimant User numbered seven (7) through Claimant
User two million one hundred sixty-four thousand seven hundred forty (2,164,740)111
represent those individuals who are similarly situated being Facebook users in the
proposed class whose images, digital identity, personal information, and friends
“network” was utilized in violation of antitrust laws112 by Defendant Facebook, Inc. to
earn on average up to one hundred ten dollars ($110.00) annually without due
consideration and to the Defendants’ unjust enrichment. These State of Alabama Class
Claimants do thus state and reserve damages for the four (4) preceding years per the
Statute of Limitations for the Sherman Act.


           The proposed National Class of Plaintiff Claimant Users does include any user in
the United States of America and thus within Federal Court Jurisdiction, to include up to

111
      https://www.internetworldstats.com/unitedstates.htm#AL
112
      Including Facebook Paper’s “Blacklist” pattern.
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Two Hundred Eighty Million Four Hundred Sixty Thousand Six Hundred Sixty-Seven
(285,460,667) are those individuals within the United States of America who are
similarly situated being Facebook users in the proposed national class who experienced
antitrust violations as set out herein. This is filed on behalf of each parent and minor
similarly situated who whether by direct account were affected as set out herein or whose
images along with other information was harvested, scanned, stored and trafficked
without an individual account but by and through the account of another user.


        Damages were real and true in time and are quantifiable annually and are pled up
to and including the full statute of limitations of four (4) years to which includes per year
revenue generated of $238,121,400 for the Alabama Class and $31,400,673,370 for the
National Class. Total estimated revenue for all Facebook Users over the four (4) years
preceding should be considered and is reserved for damage claims.113


        This considers the minimal amount earned per year in violation of the antitrust
laws per user and the maximum number of potential class participants. Ranges as stated
herein are nine ($9) dollars up to and including one-hundred ten dollars ($110)114 and
perhaps up to two hundred two dollars ($202) per user of annual revenue earned by
Facebook, Inc. The damages awarded should be calculated and be distributed to the
Class Plaintiffs by way of a Court Ordered Matrix assigned by a point system element
taking into consideration the legal counts set out herein and damages by category.


        WHEREFORE, damages for the Plaintiffs are claimed herein and for the Alabama
State Class of Two Hundred Forty Million Dollars ($240,000,000) and Thirty-One
Billion Dollars for the National Class ($32,000,000,000) per year.


      ❖ Unjust Enrichment,

113
    https://www.statista.com/statistics/277229/facebooks-annual-revenue-and-net-income/ - “Facebook's revenue grew from
7.87 billion in 2013 to 86 billion US dollars in 2020.”
114
    For §4 of the Clayton Act treble damages, this “good faith” damage of one hundred ten dollars ($110) per similarly
situated class member is a plumb line for reserving damages. The amounts are based upon total Facebook/Meta users and
the revenue per user generated. .
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   ❖ Mental Anguish,
   ❖ Emotional Distress,
   ❖ Unjust Enrichment Damages of the Use of Minors Images, Likeness and Digital
       Identity to include race, gender, association and other constitutionally protected
       privacy regards without Consideration,
   ❖ Antitrust and Sherman Act damages to include treble damages per §4 of the
     Clayton Act are herein pled,
   ❖ Any general and specific damages for mental anguish, distress, punitive or like
       legal damage.


       WHEREFORE, PREMISES CONSIDERED, Plaintiffs demand judgment against
Defendants for the breaches herein pled. Plaintiffs for themselves and for the Alabama
State Class and National Class do demand judgment against Defendants for general and
compensatory damages that the court may determine.


       WHEREFORE, relief and redress is requested as follows:


  I.   Certifying this case as a Class Action on behalf of the Class defined above,
       appointing Plaintiffs as representatives of the Class, and appointing their counsel
       as Class Counsel; That a National Class be certified, or in the alternative a State
       Class be certified, with order entered directing Defendants, specifically Facebook,
       Inc., now operating as Meta Platforms, provide the Class Representatives the (i)
       full name, (ii) registered email address, and (iii) any other contact & demographic
       information necessary to alert those similarly situated of his/her potential claim as
       part of the Class of minors. Global Class is reserved for amendment consideration
       following discovery.
 II.   Declaring that Facebook’s actions, as set out above, violates the the Sherman &
       Clayton Antitrust Acts, et seq. and allow claims within the full four (4) year
       statute of limitations;
III.   Awarding statutory treble damages of three-hundred thirty dollars ($330) per
       intentional or reckless violation of the Sherman & Clayton Antitrust pursuant to
       §4 and damages for the torts to include unjust enrichment of Defendants;


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 IV.    Direct a Minor’s Privacy Trust Fund be established and each minor who has
        photographs stored on Defendants systems which were harvested, biometric facial
        recognition templated and trafficked to third-parties as part of the deceptive trade
        practices be a beneficiary of same. The general population is composed of 22.3%
        of minors 18 and under.115 Considering the Sherman statute and the claims
        noticed, the creation and funding of a Minors Digital Image Protection &
        Exploitation Mitigation Trust Fund is demanded to be funded each year for four
        (4) consecutive years for the minors and those similarly situated in the class.
        California116 and Illinois117 claims to be considered for a pro tanto reduction if
        other terms accepted.
 V.     Awarding Plaintiffs and the Class their reasonable litigation expenses and
        attorneys’ fees;
VI.     Awarding Plaintiffs and the Class pre-judgment and post-judgment interest, to the
        extent allowable; and
VII.    Awarding such other and further relief as equity and justice may require.
        Plaintiffs request that the jury award an amount which will adequately reflect the
egregious nature of the Defendants’ wrongful acts, general disregards, and which will
effectively deter and at some level prevent other similar wrongful acts. Rights are herein
reserved to amend the damage claim.


        Respectfully submitted this the 31st day of December 2021.




115
    https://www.census.gov/quickfacts/fact/table/US/AGE295219
116
    Carlo Licata, et al v. Facebook, Inc. filed in California in the United States District Court, hence res judicata
may be argued as an established case’s resolution based upon the same legal theory and type of legal count(s).
117
    Frederick Gullen v. Facebook, Inc. filed in Illinois in the United States District Court, hence res judicata may be
argued as established by this case's resolution based upon the same legal theory and type of legal count(s).
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       Facsimile: 855-998-3329                   Email: ericakkemmer@gmail.com
 Email: trentongarmon@gfile.legal


Of Counsel:
Garmon & Associates, PLLC



                    §1983 Pleading Notarized Oath & Verification

       Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best
   of my knowledge, information, and belief that this Complaint: (1) is not being
   presented for an improper purpose, such as to harass, cause unnecessary delay, or
   needlessly increase the cost of litigation; (2) is supported by existing law or by a
   nonfrivolous argument for extending, modifying, or reversing existing law; (3) the
   factual contentions have evidentiary support or, if specifically so identified, will
   likely have evidentiary support after a reasonable opportunity for further
   investigation or discovery; and (4) the complaint otherwise complies with the
   requirements of Rule 11.

                                s/ Trenton Garmon
                                 Trenton Garmon
                                Attorney for Plaintiffs

                 REQUEST FOR SERVICE BY CERTIFIED MAIL


Pursuant to ARCP 4.1 and 4.2, Plaintiffs request that the Clerk direct service of the
foregoing “Summons and Complaint” by certified mail, addressed as follows:

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                      Meta Platform, Inc.
                         1 Hacker Way
                  Menlo Park, California 94025

                      Mark Zuckerberg
                      1601 Willow Road
               Menlo Park California 94025-1452

                         Starbelt LLC
               Corporation Service Company Inc.
                  641 South Lawrence Street
                   Montgomery, AL 36104


                    //S//Trenton Garmon
                TRENTON GARMON (GAR093)




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